STATE oF NoRTH cARoLiNA ` >F”e’""'

DURHAM

 

County

 

in The General Court OfJustice

 

 

 

§§ 5 § nw guns \:iDietriet [XiSuperiorCourt Divie`ron
Name OrPiarnirrr ’ * i ita §.“.': U

Address CIV L M
IAATRH\IAWALLACE law gary 153 l SUM ONS

city area zip

 
 

i_ii§ AND PLuR:ES SuMMoNs {ASSESS FEE)
DURH;§/*.~i (}O,| C o

 

VERS US

Name or Derendenr(s) B Y :o::o:%§ummons issued
GREYSTAR R§AL ESTATE PARTNERS, LLC et al.

Date($) Subeequent Summons(es) lssued

 

G.S. 1A-€, Ru|es 3 and 4

 

 

 

 

To Each Of The Defendant(s) Named Below:
Name And Ao'o'ress Of Defeno'anr ‘f Name Aricl Ao'o'ress OfDe‘fer:darit 2
Gl'eystar Mmmgernent Services, L.P.

Registerecl Agent: C'l` Corporation System
160 Mine Lake Ct., Suite 200

Reteigh

 

 

NC 27615
A Civil Action Has Been Commenced Against‘(ou!

 

You are notified to appear and answer the complaint of the plaintiff as fo§|ows:

11 Ser\ie a copy of your written answer to the complaint upon the plaintitf or ptalntitf’e attorney within thirty (30) daye after you have been
eerved. You rnay eerye your answer by delivering a copy to the plaintiff or by mailing it to the plaintiff‘e last known addrese, and

2, Fi|e the original of the written answer with the C|erl< of Superior Court of the county named a ve.

lf you fail to answer the complaint the plaintiff wilt apply to the Court for the relietF demanded in tt e oompl ' t.
Name And Address Of Plaintiff's Ai'torney (r`f none_ Acidress Of Plairitiff)

Da!e Ue g‘”??me
_Y 1 0 2013 6§;/ Q/
Scott C. Harris f m ‘ / 1 M M
W't)ittielci Bl"ysoo & Mason LLP ' 13 d . in

 

 

 

 

 
  

 

 
 

  

900 W. Morgeo St.

 

 

 

 

 

 

Raleigh NC 2?603 m Deputy Q`SC { ij A sistanr CSC l:} Cierk Of Superior Courf
/ \
oare of Endersemenr nme
[:} ENDORSEMENT (ASSESS FEE) [:] AM [:}ez\il
Thie Summone was originally issued on the date indicated S,-gnam,e

 

above and returned not served At the request of the plaintiffl
the time within which this Summone must t)e eerved is
extended eixty (SG} daye.

 

§ Depory csc [:§ Assisiani csc

 

i::f Clerk Of Superi`cr Courf

NOTE TO PA RT|ES: Many counties have MANDATORYARBITRA TION programs in which most cases where the amount in controversy is $25,000 or

less are heard by an arbitrator before a triai. The parties will be notified iffhi`s case is assigned for mandatory arbitration and. if
so. What procedure i`s to be followed

‘ (Over)
AOC~CV-tOO, Rev‘ 6/16
© 2016 Adminietrative Offi`oe of the Courte

 

CaSe 1:18-CV-00501-LCB-LPA Document 1-1 Filed 06/13/18 Paoe 1 of 45

 

RETURN OF SERVICE l-

 

 

i_r:_e_rtity___thatthi_s S_umrnoris_ and____a copy ot_tb_e_comp|airtt were received_and_served_as follo_ws;____

 

DEFENDANT 1

 

Del‘e Served‘ lime Serveo' l\lame Of Defendanl

[:jiw mem

 

 

 

[:l Ely delivering to the defendant named above a copy of tide summons and complaint

l:§ Eiy leaving a copy of the summons and complaint at the dwelling house or usual piace cf abode of the defendant named above with a
person of suitable age and discretion then residing therein.

l:i As the defendant is a corporation, service was ette`cted by delivering a copy of the summons and complaint to the person named
below

 

l\!ame Ancl Address Of Person irwin ill/hom Copies Lei? rif corporationl give title of person copies left wiihl

 

 

i:] Other manner of service (speciry)

 

l:i Defendant WAS NOT served for the following reason:

 

DEFENDANT 2

 

Daie Served Time Serveo' l\lame OfDefenclanl

[:]AM flew

 

 

 

:l By delivering to the defendant named above a _copy,,_of the summons and complaint

i:l By leaving a copy of the summons and complaint at the dwelling house or usual place of abode of the defendant named above with a
person of suitable age and discretion then residing therein

t:] As the defendant is a coi'rporatio'n: service was effected by delivering a copy of 1the summons and complaint to the person named
below. . w

\

 

Name And Address Oi iverson irwin Whom Ccpies l_ei? (if corporations give title of person copies left Wiih)

 

 

l:] Other manner of service (specify)

 

{:l Deiendant WAS NOT served for the following reason:

 

 

 

Service Fee Paiol Signarure Of i_)epul‘y Sheri`ff Mai<ing Reru'm
Daie Recelveo Name Of Sherifl' (rype or prini)
Date Oi Relurn Ccuniy Of Sheril'f

 

 

 

AOC-CV»lDD, Side Two, Rev. E)`HS
© 2016 Administrative Oi"iice of the Courts

Case 1:18-cv-00501-LCB-LPA Document 1-1 Filed 06/13/18 Paoe 2 of 45

w j :"`g ii'_ ,-’ / '~'§

 

 

 

 

 

 

 

 

F`i N l
sTATE or- NORTH cARoLiNA . § 'E "
t”" in the camera court or.iusrice
DURHAM . ‘~
COUHW iv § gm E: § [:]District lSuperior Court Division
Name Oi’ i:’i£il'nli'lit
'miri,ff"¢§; i§ _,»-
?:::§INA WALLACE ny * H 314 C'V|L SUMMONS
n ALEAS AND PLUR}E$ SUMMONS ASSESS FEE
city stareth DURHAM CO., ._E;.C ( )
VERSUS 3 Y y c.s. ti\-i, acres 3 are 4
i\iame Ol' Defenciant(s) `

 

Date Original Summons issued

GREYSTAR REAL ESTATE PARTNERS, LLC et ai.

 

Dete(s) Subsequer)t Sumrnons(es) issued

 

To Each Of The Defendant(s) Narned Below:

l\lame Ar:d Ao'clress Of Defendant 1

Graystar Real Estate Partnet's, LLC

Registered Ageltt: CT Corporation System

2 Off'ice Park Court, Suite 103

Colum§)ia SC 29223

 

Narne Ano‘ Address Of Defenciant 2

 

 

A Civi| Action Has Been Commenced Against You!

You are notified to appear and answer the complaint otthe piaintitf as foliows:

1. Serve a copy of your written answer to the complaint upon the plaintiff or plaintiffs attorney within thirty (30) days after you have been

served YoLi may serve your answer by delivering a copy to the plaintiff or by mailing it to the plaintiffs last known address, and
2. Fiie the original of the written answer with the C|er|< of Superior Court of the county named above

lf you tail to answer the complaint the plaintiff will apply to the Court for the relief demanded in the CGmp|aint-<"‘/__\\
..¢f

Narne Ar:d Adclress Of Piaintift's Attorney (it ri'one_ Ao'dress Of Piainliif) Date issued X( o `5§;/ j
Scott C. Harris f mv 1 a wis . Ai\t me i
married ei-yson & Mason LLP si§::ire / § / ;//
900 W. Morgan Sr. \
R 1 ‘vh \iC 77<5{)3 \`

a 815 l " eputy CSC n Assistani SC :j Cierk OiSuperior Court

/ ` `

Date Of Endorsement Time

 

 

 

 

 

 

 

 

 

§:i ENDORSE|V!ENT {ASSESS FEE)

This Surrirnons was originally issued on the date indicated
above and returned not served At the request of the piaintiff,
the time Within which this Summons must be served is
extended sixty {60) days

[:]Arvi i:leii

 

 

Signati.rre

 

 

§:l oepury csc l:l Assrsranr csc l:] clair or superior com

NOTE TO PART|ES: ll/lany counties have MANDATORYARBlTRATlON programs in which most cases where the amount in controversy is $25.000 or

less are heard by art arbitrator before a trial The parties will be notified if this case is assigned for mandatory arbitrationl and if
sc, what procedure is tc be followed

(Over)
AOC-CV-i 00, Rev. 6!16

© 2016 Administrative Oflice of the Courts

 

Case 1:18-cv-OO50l-LCB-LPA Document 1-1 Filed 06/13/18 Paoe 3 of 45

 

RETURN OF SERV|CE

   

 

i certify.thatthis Summcns..an.da.c.op.y of th.e. complaint were received.and.serve.das.follo.ws: .......................

 

DEFENDANT"T

 

Date Serveo' l'ime Serveo' Name Of Defendani

l:],w [:irr>u

 

 

 

I:i By delivering to the defendant named above a copy of the summons and complaint

[:§ By leaving a copy of the summons and complaint at the dwelling house lor usual place of abode of the defendant named above with a
person of suitable age and discretion then residing therein

l:] As the defendant is a corporation, service was effected by delivering a c_o_py ot the summons and complaint to the person named
below

 

i\larrie Ano' Address Of Person tri/ith Wliorn Copies l_elt (if corporation give title of person copies lett With)

 

 

|:j Other manner of service (specify)

 

l:] Detendant V\i/-\S l\lOT served for the following reason:

 

1 v DEFENDANT 2

 

Date Servec‘ lime Served ~ Name Oi‘ Defendant
§ Au [:i en

 

 

 

l:j By deiivering to the defendant named ab§)ve a cqp of the summons and complaint
»" .i) .

l:] By leaving .a copy of the summons and ddmplaint at the dwelling house or usual place of abode ot the defendant named above with a
person of suitable age and discretion then residing therein

[:j fits the defendant is a borporation, service was effected by delivering a copy of the summons and complaint to the person named
below

 

l\lame Arid Ao‘dress Of Persorr lrliifh Whom Copies Lelt (if corporation give title of person copies left with)

 

 

[:i Other manner of service (specify}

 

§ Defendant VVAS |\lO"l“ served for the following reason:

 

 

 

Service Fee Paio' Signature Of De,oi.rty Sheriff Mai<ing Rettlrrr
$

Date Received l\lame Ot Sheritf (type or print)

Date Of Return County O.F Sherilf

 

 

 

AOC-CV-1 OO, Side Two, Rev. GllG
© 2016 Administrative Office of the Courts

Case 1:18-cv-OO50l-LCB-LPA Document 1-1 Filed 06/13/18 `- Paoe 4 of 45

itt§§v?§ie

 

 

 

 

 

  
 
 

STATE OF NORTH CAROLINA >F"'SN°‘
' : in The General Court Of Justice
DURILAM omith @==» g , FW m l:i Disttict 13 Superior Court Division
ivame orpiaintirf _ §=- § gm §;,; é;;§
Ao'o'ress
lgATRrNA WALLACE CIVIL SUNEMONS

 

. , \ALEAS AND PLUR|ES SUMMONS (ASSESS FEE)
Ciiy_ Siate, Zip \-

 

 

il _,__ 5
VERSUS -¢ - {¢-` G.s. in~i, sees 3 and 4
Name Of Defeno'ar)t(s) B y Dafe 0 inai Summons issued
GREYSTAR REAL ESTATE PARTNERS, LLC et a . .,;

ii

 

Daie(s} Siibsequeni Summons(es) issued

 

To Each Of The Defendant(s) §\iamed Be|ow:

Narne find Ao'dress Of Defendant 1
Greysta_r RS National, lnc.

Registei'cd Agent: CT Corporation System
160 Mine Lai<e Ct., Suite 200

Ralcigh NC` 276 [5

 

Name Ano' Address Of Defendant 2

 

 

A Civil Action Has Been Commenced Against You!

Yoo are notified to appear and answer the complaint ofthe plaintiff as follows:

1. Serve a copy of your written answer to the complaint upon the plaintiff or plaintiffs attorney within thirty (3€)) days after you have been

served \tou may serve your answer by delivering a copy to the plaintiff or by mailing it to the plaintiffs last known address and
2. Fiie the originai of the written answer with the C|ori< of Superior Court of the county named above

if you faii to answer the compiaint, the plaintiff wi|E apply to the Court for the relief demanded in tp`e complaint

Name Ano' Ao'dress Of Piaintitf's Attorriey (if none Addrs-ss Of Piainfift) Date issue§px 1 7 i'im ( ¢§5§//

t . l Aivi Pi.i
Scott C. Hams l ij
Whiificld Bryson. & Iviason LLP l /

 

 

 

 

 
   

900 W. Morgau St.

 

 

 

 

Raleigh NC 27603 i`_`i A isiani csc ij cieri< orsoperior court
‘l
Daie Of Eno'orsement i'ime
i:i ENDORSEMENT (ASSESS FEE) i:§ Aivi [:lr>n
This Sommons was originally issued on the date indicated gignam,e

 

 

above and returned not served At the request of the plaintiff
the time within which this Summons must be served is
extended sixty (60} days

 

 

§ oepu:y csc [:] Assisran: csc i:] cert or superior court

N OTE TO PA RT|ES :- Many counties have MANDA TORYAREITRA TiON programs iri which most cases where the amount in controversy is $25, 000 or

less are heard by an arbitrator before a triai. The parties wiii be notiHeo‘ if this case is assigned for mandatory arbitration and4 if
so. what procedure is to be followed

(Over)
AOC-CV‘i CiD, Rev. 6/16

© 2016 Administrative Oft"tce of the Courts

 

Case 1:18-cv-00501-LCB-LPA Document 1-1 Filed 06/13/18 Paoe 5 of 45

 

 

| ReTuRN oi= sERvicE

 

 

.l..certif_y_tnat this..Su.mmons.and..a co.py...of..th.e.complaint were received and served.as.fol|ows: .. . ..

 

DEFENDANT 1

 

Date Served i'irne Served Name Of petendant

finn l:li=iv

 

 

 

ij By delivering to the defendant named above a copy of tba summons and complaint

il By leaving a copy of the summons and complaint at the dwelling house or usuai place of abode of the defendant named above with a
person of suitable age and discretion then residing therein

i:] As the defendant is a corporationl service was effected by delivering a copy of'the summons and comp%aint to the person named
below.

 

Name Ario‘ Address Of Person irvith irl/nom Copies Leif (if corporation give tit_ie of person copies taft Wiih,|

 

 

l:§ Gther manner of service tspecify)

 

ij Gefendant VVAS NGT served for the following reason:

 

DEFENDANT 2

 

Dafe Served Time Served Name Of Defeno'arif

l:lAM i:§r>ivi

 

 

 

:l By delivering to the defendant named above a copy?¥pf the summons and complaint

i:] B leaving a copy of the summons an‘d comptaint at the dwelling house or usual piece of abode of the defendant named above with a
y
person of suitable age and discretion then residing therein

:] As the defendant is a coiporation, service was effected by delivering a copy of the summons and compiaint to the person named
below

 

Narne Ario' Address Of Persori twin Whom Copies l_eff {if corporation give tiiie of person copies left with)

 

 

l:l Otb er manner of service {s,oecr'r]/)

 

[:§ Defendan_t WAS NOT served forthe foi|owing reason'_

 

 

 

Service Fee Paid Signafure Of Deputy Sheriff Making Returr.'
$

Date Receiveci Narne Of Sheriff (type or print)

Daie Of Return Coonty Of Sheri!'f

 

 

 

AOC-CV“lOO, Side Two, Rev. 6.'16
© 2016 Administrative Ofiice of the Couits

Case 1:18-cv-OO50l-LCB-LPA Document 1-1 Filed 06/13/18 Paoe 6 of 45

iscb®@?§i§

 

 

 

 

 

 

   
   

 

 

" Fiie iva ““
sTATE oF NORTH cARoLiNA §
DURHAM |n 'fhe General Coutt Of Justice

Coumy l:] District § Superior Court Division

Narne Of Piain.firf i»;a w saw
t t is §§ ici
"`ddre$$ ClVli_ SUMNIONS
TRI\i W
KA j A ALLACE y 1 E..LAS AND PLURiES SUMMONS (ASSESS FEE)
City, State_ Zip ZBlB l"m f ' `
VERSUS DUR_HAM CO C 3 l y G.S.1A~1,Rules 3and 4

Name Of Defendanf(sj a ginai éurrimons issued
GREYSTAR REAL ESTATE PARTNERS, LLC e[p‘j'_ ®"°""M

 

 

Date(s) Subsequent Suminons(es) issued

 

To Each Of The Defenclant{s) warned Be|ovv:
Naino And Address Ot Defendant 1

Greystzu' RS SE, LLC
Registered Agent: CT Coi'potation System
160 Mine Lake Ct., Suite 200

Raleigh NC 27615

A Civil Action l-ias Been Comrnenced Aga|nstYou!

 

Name And /¢ldo'ress Of Defendant 2

 

 

You are notified to appear and answer the compiaint of the plaintiff as foliows:

1. Serve a copy of your written answer to the complaint upon the piaintiff or plaintiffs attorney within thirty (30) days after you have been

served You may serve your answer by delivering a copy to the plaintiff or by mailing it to the ptaintifi`s last known address, and
2. i:i|e the original of the written answer with the C|erl< of Superior Court of the county named above

|f you fait to answer the complaint the piaintiff wii| apply to the Court for the relief demanded in the comp|ai .
/-__`:\
Name And Ao‘o'ress Of Piaintit'f's A!torney (if none Ao'dress Of Piainiiff)

Date issued / Tirne l , j
Scott C. Harris HAY ll 0 2016/d l `M jim
whitfield swann & stages tLP S"QT”@ " ;J( / j - _. '
900 W. Morgan St. l "
`§=z==”" 1
Ral@§gh NC 27603 l:l ty CSC z i:l As istarii CSC i:i Cierir Of Superior Court

\

Date Of Endorseirienf Time

 

 

 

 

 

 

 

 

 

i:l ENDORSEMENT {ASSESS FEE)

This Summons was originally issued on the date indicated
above and returned not served. At the request of the plaintiff,
the time within which this Surnrnons must be served is
extended sixty ((:`>O) days

 

§:EAivi [:EPM

 

Signature

 

 

ij capt/ry csc m Assis:ani csc i:l clerk or superior court

NOTE TO PA RTlES: il/lany counties have MANDA TORYARBITRA TION programs in which most cases where the amount in controversy is $25,000 or

less are heard by an arbitrator before a trial4 The parties vviii be notified if this case is assigned for mandatory arbitration andy if
so, What procedure is to be foiiowed.

(Over}
AOC-CV»?OO, Rev. 6!16

© 2016 Adrninistrative Office of the Courts

 

Case 1:18-cv-OO50l-LCB-LPA Document 1-1 Filed 06/13/18 Paoe 7 of 45

 

RETURN oF sEvacE l-

 

 

 

DEFENDANT 1

 

Daie Served Time Served Name O.f Defendarit

l:]AM finn

 

 

 

l:j By delivering to the defendant named above a copy of the summons and complaint

E:i By leaving a copy of the summons and complaint at the dwelling house or usual place of abode of the defendant named above with a
person of suitable age and discretion then residing therein

l___l /-‘\s the defendant is a corporationl service was effected by delivering a copy of the summons and complaint to the person named
below '

 

Narr:e And Address Oi Person Wlih iii/hom Copies Le!t (if corporation give title of person copies left Witr))

 

 

l:§ Other manner of service (s,oecify)

 

i:§ Defendant V\JAS NOT served for the following reason:

 

DEFENDANT 2

 

Dafe Served `i`ime Served‘ i\iame O.f Defendanl

l:]nlvi l:li=n

 

 

 

m By delivering to tne'defendant named above a copykof the summons and complaint
‘ ‘ = t

i:] By leaving a copy ofthe summons and complaint atthe dwelling house or usual place of abode of the defendant named above with a
person of suitable age and discretion then residing therein

l:l As the defendant is a corporatio'n, service was`effected by delivering a copy of the summons and complaint to the person named
below.

 

Name Ano' Adrjress Oi Person l'biih iii/hom Copies i_eit (ii' corporationl give rifle of person copies left Wifn)

 

 

i:l Otner manner of service (specify)

 

§ oefendant wAs Nor gen/ed fertile following reason

 

 

 

Service Fee Paio' Signafure Oi Deputy Sneriff Mairirig F?eturn
Dare Receiveo' Name Of Sneriff (l)/pe or print)
Dafe Of Reium Counfy Of Sheriii‘

 

 

 

ACJC-C;\i-lGG‘l Side Two, Rev. GilS
© 2016 Administrative Offloe of the Cour'cs

Case 1:18-cv-00501-LCB-LPA Document 1-1 Filed 06/13/18 Paoe 8 of 45

v \»t)l,l i,’- fe .»"' xi la

 

 

 

 

F l='l lv _
sTATE ol= NoRTH cARoLlNA § '@ °
DURHAM '_ L, _,, ln The Generai Col.zrt Of Justice
goumy E: a gm § n l:lDistrict lSLlperiorCourt Division
Name Ol' Piaintil‘f
Ao‘ciress

 

 

 

 

 

lllll lilly/§ '= 5 C¢VH- SUMMONS
KATRI\IA WALLACE "
, l _ Al_lAs Al\lo PLuer-:s summons lAssEss FEE}
Crty, Sta!e4 le
ounl~l ill co., c
VERSUS n y \ G.S. 1A-1, Ruies 3 and 4
Nalrle OiDefendant(s) g ' ”"”““*""‘w%a'te'@nginal Summons issued

GREYSTAR REAL E,STATE PARTNERS, LLC ct al. '

Date(sj Sut)sequeni Summorls(es) issued

 

 

To Each Of The Defendant(s} Narned Below:

Name And Address Olr Defendani l
Grcystar GP II, l'_iLC

Reg`lstered Agent: CT Col'pol'ation System
150 Fayetteville St.

Rale`lgh NC 2760[

A Civi| Action Has Been Commenced Against You!

 

Name Arld Ao‘dress Ol‘ Defendant 2

 

 

You are notified to appear and answer the complaint of the plaintiff as follows:

i. Serve a copy of your written answer to the complaint upon the piaintitf or plaintiffs attorney within thirty (30) days after you have been

served You may serve your answer by delivering a copy to the plaintiff or by mailing it to the plaintiffs last known address and
2, Fi§e the originai of the written answer with the Clerl< of Supen'or Couzt of the county named a v_e.

if you fait to answer the complaint1 the plaintiff will apply to the Court for the relief demanded int e corn | nt.

 

 

  

 

 

 
    

 

 

 

 

j
Narna find Address Of Piairlliff's Atforney iii none Address Of Piairltifi,`l Dafe issued WY 1 Tirrle ._ /
Scott C. Harris _ l AM PM
Whitt"ield Bi'yson & Mason LLP S‘QCME iv .1 ` `
900 W. Morgan sl. \ " ' ' -- -f;"'
Ral€igh NC 27603 l%y csc m wherein csc i:] clerk crsoperlar conn
Date Of Endorsernerlt lime
i:l ENooRsell/lel\lf (Assess seal l:l iw ljr’ll
Thts Summons was originally issued on the date indicated g;gnawr@

 

 

above and returned not served At the request of the plaintiff
the time within which this Summons must be served is
extended sixty (60) days.

 

 

ij newly csc l:l Asslslanr csc l:§ crerl< orsuperlor court

NOTE TO PARTIES: l'l/l'any counties have MANDA TORYARBITRATION programs irl which most cases where the amount in controversy is $.?5.000 or

less are heard by an arbitrator before a triai. Tne parties wiil' be notilieo‘ if this case is assigned for mandatory arbitration and. if
so. what procedure is to be followed

(Over)
AOC»CV-i D{J, Rev. 6/16

© 2016 i-\clministrative Office of the Courts

 

Case 1:18-cv-OO50l-LCB-LPA Document 1-1 Filed 06/13/18 Paoe 9 of 45

 

' l REruRlv oi= sEvacE l

   

l C@r`tify.`that thiS..SummOnS.and...a copy.of the.Complaint Were received and.SerVeC|.aS follows;.. . .. . .. ...............

 

DEFENDANT 1

 

Daie Serveo' Time Senred Name Of Defendanf

l:]iw firm

 

 

 

il By delivering to the defendant named above a copy of'the summons and complaintl

l:] By leaving a copy of the summons and complaint at the dweiling house or usual place of abode of the defendant named above with a
person of suitable age and discretion then residing therein -

[] As the defendant is a corporation service was effected by delivering a copy of the summons and complaint to the person named
below '~ ' »

 

Nerrie Arici Address Oi Person th iri/hom Copies i_ef? (if corporation give title of person copies iefr wifh)

 

 

l:i Other manner of service ispeoify)

 

l:i Defendant WAS NOT served for the following reason:

 

DEFENDANT 2

 

Daie Served "l'ime Served _ lvame Of Derendani

_l i:}iw [:li=>ivi

 

 

 

ij By delivering to the defendant named above a copy of the summons and complaint

E:l By leaving a copy‘of the-summons and compi_alnt at the dwelling house or usual place of abode of the defendant named above with a
person of suitable age a_n___d discretion then residing therein

{:l As the defendant is a corporation, service was effected by delivering a copy of the summons and complaint to the person named
below

 

Name Ano' Ado'ress Oi Person irth Whom Copies l_eff {if corporation give iiiie of person copies farr wiih)

 

 

l:l Other manner of service (s,oeci`fy,i

 

l:] Defenc|ant WAS NOT served for the foilowing reason:

 

 

 

 

Service Fee Paici Sigriature Of Deputy Sheriff iliiaking Rerurn
Daie Received Name Oi Sheriff (ly,oe or print)
Date Of Reiurn Couniy Oi Sheriii’

 

 

AOC-C\/-i OO, Side Two, Rev, 61'1 6
© 2016 Administrative Ofiice of the Courts

Case 1:18-cV-00501-LCB-LPA Document 1-1 Filed 06/13/18 Paoe 10 of 45

isnxGGZSZB

STATE OF NORTH CAROLINA
COUN'I`Y OF DURHAM
KATRINA WALLACE,

Plaintit`f,

 

V.

COMPLAINT

GREYSTAR REAL ESTATE
PARTNERS, LLC; GREYSTAR GP II,
LLC ; GR.EYSTAR MANAGEMENT
SERVICES, L.P.; GREYSTAR RS
NATIONAL, INC.; GREYSTAR RS SE,
LLC; l`NNESBROOK APARTMENTS,
LLC dib/a SOUTHPOINT GLEN,

(Class Action)

VVVVVVVVVVVVVUV

Defendants.

Plaintiff Katrina Wallace (hereafter “Plaintiff” or “Wallace”), on behalf of herself and
thc proposed Class, files this Complaint against Def`endants Grcystar Real Estate Partners,
LLC, Grcystar GP II, LLC, Greystar Management Services, L.P., Greystar RS National, lnc.,
Greystar RS SE, LLC, and lnncsbrook Apartments, LLC dlbla Southpoint Glen LLC
(hcreinafter “Defcndants” or “Grcystar”) and states:

NATURE OF THE AQTION

l. This is an action brought by Plaintiff Katrina Wallace and others similarly
situated due to unlawful and unfair debt collection practices engaged in by Defendants in their
attempts to collect upon fees, penalties, and other improper charges, when such costs, fees,
charges, and amounts are not owed and expressly prohibited.

2. This case arises under the Residcntial Rental Agrecmcnts Act, N.C.G.S. § 42-
38 et seq., the Uniform Commcrcial Code - Negotiable lnstruments, N.C.G.S. § 25-3-506, the

North Carolina Debt Collection Act, N.C.G.S. § 75-50 el seq., the North Carolina common

Case 1:18-cV-OO5Ol-LCB-LPA Document 1-1 Filed 06/13/18 Paoe 11 of 45

law of contracts, and the Unifonn Declaratory Judgment Act, N.C.G.S. § 1-253, et seq.

3. This is a class action, filed pursuant to Rule 23 of the North Carolina Rules of
Civil Procedure on behalf of all tenants of any North Carolina apartment complex in which
Greystar provides property management services, including but not limited to tenants of the
apartment complex owned by Innesbrook Apartments, LLC d/bla Southpoint Glen Apartments
(“Southpoint Glen Apartments”) in Durham, North Carolina who pursuant to Defendants'
standardized policies and procedures, have during the past four (4) years or will in the future
(a) receive one or more communications from Defendants that violate North Carolina law as

further set forth herein, and/or (b) have paid amounts in excess of those allowed by North

Carolinalaw.
JURISIDICTION AND VENUE
4, -The foregoing allegations are incorporated by reference and realleged herein.
5. This Court has jurisdiction over the parties and this action pursuant to

N.C.G.S. § 42-44, N.C.G.S. § 25-1-305, N.C.G.S. §§ 75-16 and 56, N.C.G.S. § 1-75.4 and
N.C.G.S. § 1-253.

6. Venue is proper under N.C.G.S. § l-79 in that Defendants maintain a place of
business in Durham County, North Carolina, and have regularly engaged in business in

Durham County, North Carolina.

PARTIES
7. The foregoing allegations are incorporated by reference and realleged herein.
8. Plaintiff Katrina Walla_ce is a citizen and resident of Durham County, North

Carolina who at all relevant times, leased an apartment from Defendants at Southpoint Glen

Apartments with her three-year-old daughter.

Case 1:18-CV-00501-LCB-LPA Document 1-1 - Filed 06/13/18 Paoe 12 of 45

-`

9. Plaintiff is a "tenant“ subject to the protections of N.C.G.S. §42-46.

lO. Plaintiff is a "consumer" as defined by N.C.G.S. § 75-50.

ll. Defendant Greystar Real Estate Partners, LLC is, upon information and belief,
a limited liability company organized under the laws of the state of South Carolina,
maintains a business in Durham County, North Carolina, and has regularly engaged in business
in Durham County, North Carolina.

12. Defendant Greystar GP ll, LLC, is, upon information and belief, a limited
liability company organized under the laws of the state of Delaware, maintains a place of
business in Durham County, North Carolina, and has regularly engaged in business in Durham
County, North Carolina.

l3. Defendant Greystar Management Services, L.P., upon information and belief,
a limited partnership incorporated under the laws of the state of Delaware, maintains a
place of business in Durham County, North Carolina, and has regularly engaged in business
in Durham County, North Carolina.

l4. Greystar RS National, Inc. is, upon information and belief, a limited liability
company organized under the laws of the state of Delaware, maintains a place of business in
Durham County, North Carolina, and has regularly engaged in business in Durham County,
North Carolina.

IS. Greystar RS SE, LLC is, upon information and belief, _a limited liability
company organized under the laws of the state of Delaware, maintains a place of business in
Durham County, North Carolina, and has regularly engaged in. business in Durham County,

North Carolina.

Case 1:18-CV-OO5Ol-LCB-LPA Document 1-1 Filed 06/13/18 Paoe 13 of 45

l6. lnnesbrook Apartments, LLC d/b/a Southpoint Glen Apartments is, upon
information and belief, a limited liability company organized under the laws of the state of
North Carolina, and has regularly engaged in business in Durham County, North Carolina.

l7. Upon information and belief, Defendant Greystar Real Estate Partners, LLC,
employs the persons and other entities to operate the properties in North Carolina, including the
Southpoint Glen Apartments.

18. Upon information and belief, Greystar Real Estate Partners, LLC, is the only
property management company engaged in the work and business of the Southpoint Glen
Apartmcnts and other North Carolina properties.

l9. Upon information and belief, Defendants are so closely related in ownership and
management, and that each works closely in concert with the other, such that each has become

the alter ego of the othcr.

20. With respect to all actions and decisions to this aetion, Defendants have operated
as a single entity.

21. Defendants are each "landlords" as defined by N.C.G.S. §42-40(3).

22. At all times relevant to this action, Defendants, in the ordinary course of
business as the lessors of residential real property, engaged in acts or practices affecting
commerce within the meaning of N.C.G.S. §75-1.1.

23. Defendants are each "debt collectors" as defined by N.C.G.S. § 75-50.

GENERAL BACKGROUND
24. The foregoing allegations are incorporated by reference and realleged herein.

25. Upon information and belief, at all times relevant to the allegations contained

Case 1:18-CV-OO5Ol-LCB-LPA Document 1-1 Filed 06/13/18 Paoe 14 of 45

herein, Defendants entered into lease agreements with all North Carolina tenants that state “[i]n
the event we file a summary ejectment lawsuit against you, we may also recover from you the
highest one of the following fees (whieh shall be in addition to late fees, attomey’s fees, and any
applicable court costs...” See attached Exhibit l (emphasis in original). The lease agreements
immediately identify and describe three fees: a Complaint Filing l-`ee, a Court Appearance Fee,
and a Seeond Trial Fee.

26. The Complaint Filing Fee, Court Appearance Fee, and Seeond Trial Fee are the
same fees described in N.C.G.S. § 42-46 (e) through (g).

27. Upon information and belief, at all times relevant to the allegations contained
herein, Defendants have maintained a uni form, statewide policy of requiring any North Carolina
tenant who fails to make a full and complete rental payment, or maintains a balance on their
account ledger in excess of $0.00 after the 16th day of any given month to pay filing fees
(“Filing Fees”), sheriff service fees (“Serviee Fees"), and attomeys’ fees (“Attomeys’ Fees”)
(eoliectively the Filing Fees, Service Fees, and Attomeys’ Fees are referred to as the “Eviction
Fees”) (herein described as the (“Collcction Policy").

28. Eviction Fees are additional fees separate and apart from the ones expressly
authorized by N.C.G.S. § 42-46.

29. Evietion Fees are fees set by the North Carolina Legislature for filing a
complaint in summary ejectment and for service of process by a sheriff.

30. Upon information and belief, Defendants entered into a legal services agreement
with a law firm that charges a flat fee per eviction. Upon information and belief, this legal
services agreement limits the scope of the law finn’s representation to only seeking possession

of the apartment premises on behalf of Defendants and not any money owed.

Case 1:18-CV-OO5Ol-LCB-LPA Document 1-1 Filed 06/13/18 Paoe 15 of 45

3|. Upon information and belief, throughout the Relevant Time Period, the Filing
Fees were 396.00 and the Service Fees were $30.00. See Exhibit 2 and Exhibit 3.

32. When a tenant fails to make a full and complete rental payment, or maintains a '
rental balance on their account ledger in excess of $0.00 after the 12th day of any given month,
Defendants cause written letters or emails to be delivered to the tenant stating that the tenant
“will also be charged for court costs” if he or she fails to make a complete rental payment
(hereinafier “Initial Collection Letter”).

33. An exemplar of the Initial Collection Letter is attached as Exhibit 4.

34. The “court costs“ referred to in the Initial Collection Letter is the same as
Eviction Fees described herein.

35. Upon information and belief, pursuant to the Collection Policy, tenants owe, and
are required to pay Eviction Fees even if: (a) the complaint in summary ejectment had not yet
even been liled; (b) the complaint in summary ejectment is dismissed; or (c) a North Carolina
Magistrate Judge orders the Eviction Fees to be assessed against Defendants.

36. Upon information and belief, each and every tenant of a property owned or
managed by Defendants, or either of them, is subject to the Collection Policy.

37. Upon information and belief, the Collection Policy is uniformly applied to each
and every tenant that resides at any of the apartments owned or managed by Defendants.

38. Upon information and belief, the Collection Policy is mandatory throughout
Defendants’ properties; individual managers, empioyees= associates, or other agents of
Defendants have no discretion as to the implementation of the `Collection Policy.

39. Upon information and belief, pursuant to the Collection Policy, when a tenant

fails to make a full and complete rental payment, or maintains a balance on their account ledger _

Case 1:18-CV-OO501-LCB-LPA Document 1-1 Filed 06/13/18 Paoe 16 of 45

in excess of $0.00 on or around the 16th day of any given month, Defendants file legal action to
evict the tenant.

40. lmmediately before filing legal action to evict a tenant, or shortly thereafter,
Defendants post to the tenant’s account ledger all Eviction Fees as immediately due and owing.

4|. All the Eviction Fees are posted to a tenant’s account ledger are in addition to,
and separate from, the late fees and the fees specifically authorized by N.C.G.S. § 42-46,
including the “Complaint-Filing Fee.”

42. Upon information and belief, pursuant to the Collection Policy, Eviction Fees are
entered into a tenant’s account ledger prior to a North Carolina court awarding such amounts to
Defendants, and sometimes before a complaint in summary ejectment is even filed.

43. At the time the Eviction Fees are entered into the account ledger as immediately
due and owing, there is no guarantee that Defendants will ever be awarded such fees by a North
Carolina court.

44. .: Upon information and belief, entering the Eviction Fees on a tenant’s account
ledger as immediately due and owing is mandatory throughout Defendants’ North Carolina
properties; individual managers, employees, associates, or other agents of Defendants have no
discretion as to the implementation of the Collection Policy.

45. Upon information and belief, after causing the Eviction to be assessed against the
tenant’s account ledger, and with no guarantee such amounts will ever be awarded by a North
Carolina court, Defendants immediately begin attempting to collect upon the balance contained
on the account ledger pursuant to its Collection Policy.

46. Upon information and belief, after the Eviction Fees are entered onto an

individual’s account ledger, there are no occasions in which Defendants will review and

Case 1:18-CV-OO501-LCB-LPA Document 1-1 Filed 06/13/18 Paoe 17 of 45

reconsider whether such Eviction Fees were improperly assessed

47. Upon information and belief, even if a complaint in summary ejectment filed
against a tenant is dismissed or not awarded, there are no occasions in which Defendants will
review and reconsider whether such Eviction Fees were improperly assessed.

48. Upon information and belief, after the Eviction Fees are entered onto an tenant’s
account ledger, there are no occasions in which Defendants will remove such Eviction Fees
from an individual tenant’s account ledger.

WAL.LACE’S FACTS

49. Wallace entered into a lease contract with Defendants for an apartment in
Southpoint Glen Apartments, 5901 Tattersail Drive, Apt. 12, Durham, North Carolina, 277]3
(“Apart_ment 12”) for a period from April 23, 2017 through .lune 21, 2018 (the “Lease”). The
Lease is attached hereto as Exhibit l.

50. The Lease stated that “[i]n the event we file a summary ejectment lawsuit against
you, we may also recover from you the highest one of the following fees (which shall be in
addition to late fees, attomey’s fees, and any applicable court costs)...” and immediately
identified and described the Complaint Filing Fee, Court Appearance Fee, and Second Trial Fee.

5 l. Wallace lived in Apartment 12 with her three-year-old daughter.

52. Pursuant to the Lease, Wallace’s total monthly rent for Apartment 12 is 5871.00.

53. Aiier experiencing painful migraines for a significant period of time, Wallace
visited a neurologist on October 3, 2017 and underwent an MRI. On October 5, 2017, her
neurologist diagnosed her with encephalocele and recommended that she undertake immediate
brain surgery to that required immediate surgery to repair openings in her skull that were

leaking brain fluid.

Case 1:18-CV-OO501-LCB-LPA Document 1-1 Filed 06/13/18 Paoe 18 of 45

54. On November 13, 2017, Wallace underwent brain surgery to repair her skull. On
November 20, 2017, Wallace was required to undergo a second brain surgery. As a result of the
two brain surgeries, she was hospitalized for a total of nine (9) days.

55. As a result of her condition, Wallace was unable to retum to work at BioMerieux
and has since been placed on disability.

56. Although Wallace was not able to work from October 27, 2017 to present, she
had savings that, along with her final paycheck and a small insurance payment, was sufficient to
pay rent in November, December, and January 2018.

5?. Unfortunately, in February of 2018, Wallace exhausted her finances and
determined that she was going to be unable to meet the entirety of her rental obligations.

58. On February 6, 2018, Wallace was late making a rental payment and was
charged $43.55 pursuant to N.C.G.S. § 42-46(a). See attached Exhibit 5.

59. On or about February 12, 2018, Wallace received the lnitial Collection Letter.
An exemplar of the letter that she received, but from a different date, is attached as Exhibit 4.

60. On February 12, 2018, Wallace went to her bank, State Employees’ Credit
Union, and, upon information and belief, utilized nearly every dollar to her name and requested
a money order for approximately $358.86 to be addressed to “SouthPoint Glen." She also
requested a print-out of her bank accounts shouting approximately a 525 balance, the minimum
amount her bank required her to maintain in her account.

61. Wallace then immediately went to the North Carolina Division of Social Services
(“Social Services”) to request assistance with her rent. That same day, alter reviewing her
banking and leasing information, Social Services continued that they would provide a total

payment of $600 ($400 from the “Temporary Assistance to Needy Families Program” and 3200

Case 1:18-CV-OO501-LCB-LPA Document 1-1 Filed 06/13/18 Paoe 19 of 45

from the “County Emergency Assistance-Preventative Program”) directly to Greystar and
provided Wallace with written confirmation to provide to the property manager. The written
confirmation is attached hereto as Exhibit 6 and Exhibit 7.

62. Wallace went to the front office that same afternoon and provided the partial
money order and the written confirmations from Social Services to Brook Griffin. Ms. Griflin
told her that they could not accept the voucher and would only accept “certified check or money
order.” Wallace told her that the check was coming in the mail directly to Greystar but was told
that it “did not matter."

63. On February 13,_2018, Wallace, along with all other Southpoint Glen residents
who were late, recein an email that stated: “Please note that all unpaid accounts have now
been filed on for possession. To dismiss the eviction filing, please include the filing fee. (3201
for one lease holder', $231 for two lease holders; 3261 for three lease holders.)” See attached
Exhibit 8.

64. Upon information and belief, on February 13, 2018, Southpoint Glen requested
its eviction lawyers to begin the eviction process on Wallace and all other Southpoint Glen
residents who were late.

65. In a February 16, 2018 email to Wallace, Defendants claimed that “[t]he cost of
eviction is the responsibility of the tenant per NC tenant law 42-33.” See attached Exhibit 9.
Upon information and belief, Defendants were referring to N.C.G.S. § 42-33.

66. On or about February 16, 2018, before the complaint in summary ejectment
against Wallace was actually filed, the Eviction Fees, described on the ledger as “Legal Fees=”
were placed on her account ledger in the amount of $201.00. See attached Exhibit S.

67. The “Legal Fees” referred to on Wallace’s ledger are the same fees described as

10

Case 1:18-CV-OO501-LCB-LPA Document 1-1 Filed 06/13/18 Paoe 20 of 45

“filing fees” in the lnitial Coilection Letter, and are the same as the Eviction Fees described
herein.

68. At the time the Eviction Fees were placed on Wallace’s ledger, no hearing had
been held and no attorney had appeared in Court to evict Wallace and/or seek the award of
Eviction Fees,

69. At the time the Eviction Fees were placed on Wallace’s ledger, no attorney had
been hired by Defendants to collect any debt.

70. On or about February 20, 2018, Defendants filed the Complaint in Summary
Ejectment in the Small Claims Division of Durham County General Court of Justice, alleging
Wallace owed 3871.00 in past due rent. See attached Exhibit 10. In its February 20 Summary
Ejectment Complaint, Defendants wrote that they “hereby omit[] any claim for rents or damages
and is seeking possession of the premises only. [Del"endants] reserve[] the right to seek any
monetary damages in a separate civil action.” See attached Exhibit 10.

71. On February 21, 2017, Wallace was forced to borrow $201 from her mother to
pay the Eviction Fees to avoid being evicted with her three-year-old daughter.

CO ‘ C SS L G O\lS
72. The foregoing allegations are hereby reincorporated by reference as if fully
restated herein.
73. Pursuant to Rule 23 of the_l\'orth Carolina Rules of Civil Procedure, Plaintiff
brings this action individually and on behalf of the two classes:
The lnitial Collection Letter Class (represented by Plaintil`l'):
All tenants of Defendants’ Apartments in North Carolina who (a)
at any point within the four (4) year period preceding the filing of

Plaintiff’s Complaint and during its pendency (b) resided in one
of the apartments owned or managed by Defendants’ in North

ll

Case 1:18-CV-OO501-LCB-LPA Document 1-1 Filed 06/13/18 Paoe 21 of 45

Carolina (c) were sent the lnitial Collection Letter that (d)
threatened to charge Eviction Fees in order to dismiss the eviction
action.

The Fee Class (represented by Plaintii`f'):

All tenants of Defendants’ Apartments in North Carolina who (a)
at any point within the four (4) year period preceding the filing of
Plaintiff"s Complaint and during its pendency (b) resided in one
of the apartments owned or managed by Defendants’ in North
Carolina (c) were charged and (d) actually paid Eviction Fees
prior to a North Carolina court awarding such Eviction Fees to
Defendants.

74. Excluded from the classes are: (a) any Judge or Magistrate presiding over this
action and members of their families; (b) Defendants and any entity in which Defendants has a
controlling interest in Defendants and its legal representatives, assigns and successors; and (c)
all persons and entities who properly execute and file a timely request for exclusion fi'om the

classes.

75. Commonalr'ty: All questions concerning Defendants’ Collection Policy and
Defendants’ sending the lnitial Collection Letter are common. Whether Defendants may
lawfully charge Eviction Fees separate from and in addition to what is authorized by N.C.G.S. §
42-46 is a question that is common for all members of the classes. Each and every member of
the proposed Class is subject to Defendants’ policies and procedures. Further, the answer to this
question will drive other answers in the litigation, including whether the lnitial Collection Letter

is lawful and whether any portion of Defendants’ lease is void and unenforceable

76. Predaminance: Common questions of law and fact predominate over any
individual issues that may be presented, because Defendants have a pattem, practice and
policy of charging tenants Eviction Fees after the' 16th day of the month as described herein.

These questions include, but are not limited to:

12

Case 1:18-CV-OO501-LCB-LPA Document 1-1 Filed 06/13/18 Paoe 22 of 45

a. Whether Defendants’ pattem, practice, and policy of collecting and/or
attempting to collect debt violates N.C.G.S. § 42-46 in that Defendants represent
that a specific amount of debt may be increased by Eviction Fees prior to the
award of such amounts by a North Carolina court;'

b. Whether Defendants’ pattern, practice, and policy of collecting and/or
attempting to collect Eviction Fees is illegal under N.C.G.S. § 42-46;

c. Whether Defendants’ pattem, practice, and policy of collecting and/or
attempting to collect Eviction Fees violates N.C.G.S. § 75-1.1 et seq.;

d. Whether Defendants’ pattern, practice, and policy of collecting and/or
attempting to collect debt violates N.C.G.S. § 75-1.1 et seq. in that Defendants
reli.rse to refund Eviction Fees after a Court taxes the cost of the action against
Defendants.

e. Whether Defendants’ pattem, practice, and policy of collecting and/or
attempting to collect Attomeys’ Fees are in violation of N.C.G.S. §§ 6-21.2 and
42-46 in that Defendants’ attorneys are not collecting upon any debt;

f. Whether Defendants’ pattem, practice, and policy of collecting and/or
attempting to collect Eviction Fees constitutes a violation ofN.C.G.S. § 75-l.l et
seq. in that Defendants unlawfully claim Attomeys’ Fees are due and owing
despite the absence of any statutory authority granting such fees.

g. Whether any portion of Defendants’ lease is void and unenforceable
because it contains a fee for filing a complaint for summary ejectment and/or

money owed other than the fees expressly authorized by N.C.G.S. § 42-46 (e)

through (g).

13

Case 1:18-CV-OO501-LCB-LPA Document 1-1 Filed 06/13/18 Paoe 23 of 45

77. Numerosity: The Class members are so numerous that joinder of all is
impractical The names and addresses of the Class members are readily identifiable through the
business records maintained by Defendants, and may be notified of the pendency of this action
by published and/or mailed notice. Members of the classes include hundreds of present and
former tenants of Defendants’ Apartments who have either already been charged or will be
charged with Eviction Fees in the future unless the illegal policy, practice and procedure is
enjoined.

78. Typr'calt'ty: The claims of the Plaintiff are typical of the claims of` the proposed
classes and all are based on the same facts and legal theories, as all such claims arise out of
Defendants’ conduct in that Defendants have a specific policy of attempting to unlawfully
collect debt from each member of the proposed classes Eviction Fees following the expiration of`
the 16lh day of the month.

79. Adequate Representation: The Plaintiff is an adequate representative of the class
in that the Plaintiff does not have antagonistic or conflicting claims with other members of the
class. Plaintiff has also retained counsel experienced in the prosecution of complex class actions
and consumer litigation. 1r\leither Plaintiff nor her counsel have any interests that might cause
them not to vigorously pursue this action. Plaintiff is aware of her responsibilities to the putative

class and has accepted such responsibilities

80. Superiort'ty: A class action is superior to all other available methods for fair and
efficient adjudication of this controversy. Plaintiffs anticipate no difficulty in managing and
maintaining this action as a class action. ln contrast to proceeding on a case~by-case basis, in
which inconsistent results will magnify the delay and expense to all parties and the court
system, this class action presents far fewer management difficulties while providing unitary

adjudication, economies of scale and comprehensive supervision by a single court.

14

Case 1:18-CV-OO501-LCB-LPA Document 1-1 Filed 06/13/18 Paoe 24 of 45

81. Further, Defendants have acted and refused to act on grounds generally
applicable to the proposed class, thereby making appropriate final injunctive and declaratory

relief with respect to the class as a whole.

WMQN_=

Violation of the North Carolina Residential Rental Agreements Act
N.C.G.S. §42-46
(on behalf of all classes)

82. All paragraphs of this complaint are incorporated herein as if fully restated.

83. Defendants' conduct as described above is subject to N.C.G.S. § 42-46 of the
Residential Rental Agreements Act.

84. N.C.G.S. § 42-46(e)-(h) specifically limits the amounts that can be charged to a
tenant for eviction related fees. Any amounts charged in excess of this limitation is against
North Ca'rolina’s public policy and therefore void and unenforceable

85. The Eviction Fees charged by befendants to Plaintiff and members of the Class
were separate from and in excess of the amount allowed under N.C.G.S. § 42~46 and constitute
a violation of North Carolina law.

86. The amount of Eviction Fees charged by Defendants to Plaintiff and other
members of the Class are in excess of the amounts allowed under N.C.G.'S. § 42-46.

87. As a proximate result of Defendants’ conduct, Plaintiff and all members of the
Class were damaged and are entitled to recover all amounts of Eviction Fees paid to Defendants
in violation of N.C.G.S. § 42-46. This amount is in excess of 525,000.

SECOND CAUSE OF ACTION
Violation of North Carolina Debt Collection Act
N.C.G.S. § 75-50: et seq.

(on behalf of all ciasses)

88. All paragraphs of this complaint are incorporated herein as if fully restated.

15

Case 1:18-CV-OO501-LCB-LPA Document 1-1 Filed 06/13/18 Paoe 25 of 45

89. Plaintiff and each member of the Class is a “consumer,” as that term is defined
by N.C.G.S. § 75-50.

90. The amount purportedly owed to Defendants by Plaintiff and each member of the
Proposed Class is a “debt,” as that term is defined by N.C.G.S. § 75-50.

91. At all times relevant to this action, Defendants, in the ordinary course of
business as lessors of residential rental property, engaged in acts or practices affecting
commerce within the meaning ofN.C.G.S. § 75-1.| .

92. Defendants, in seeking to recover past due rent, fees, and other charges, are “debt
collectors" as defined by the North Carolina Debt Collection Act (“NCDCA“), N.C.G.S. § 75-
50.

93. Defendants' actions described above constitute the collection of a "debt" under
N.C.G.S. § 75~50.

94. Defendants are subject to the requirements of N.C.G.S. § 75-50 et seq., that
prohibits certain activities by debt collectors.

95. Defendants violated N.C.G.S. § 75-51 by collecting or attempting to collect debt
by means of unfair threats, coercions, or attempts to coerce, including by collecting or
attempting to collect debt by threatening to take action not permitted by law.

96. Defendants violated N.C.G.S. § 75-51(8) by threatening to take and taking
actions not permitted by law, including, inter alta, threatening to assess and collect Eviction
Fees without a legal justification

97. Defendants violated N.C.G.S. § 75-54 by collecting or attempting to collect a
debt by means of fraudulent, deceptive, and/or misleading representations, including, inter alia,

threatening to assess and collect Eviction Fees without a legal justification

16

Case 1:18-CV-OO501-LCB-LPA Document 1-1 Filed 06/13/18 Paoe 26 of 45

98. Defendants’ communications to Plaintiff and members of the Class constituted
“communications attempting to collect a debt” subject to the disclosure requirement of N.C.G.S.
§ 75-54(2).

99. Defendants’ violated N.C.G.S. § 75-55 by collecting or attempting to collect debt
by using unconscionable means.

100. A violation of N.C.G.S § 42-46 constitutes an unfair debt collection attempt
under N.C.G.S.§ 75-50 et seq.

101. Defendants collected or attempted to collect from Plaintiff and members of the
class a charge; fee or expense incidental to the principal debt of the monthly rent owed,
that was legally prohibited under N.C.G.S. 42-46: in violation of N.C.G.S. § 75-51(8),
N.C.G.S. § 75-54, and N.C.G.S. §75-55 (2).

102. Defendants actions in violation of North Carolina's Unfair Debt Collection Act
were willful.

103. Plaintiff and each member of the Class were injured by Defendants' actions and
are entitled to damages to be established at trial as well as statutory damages per violation
in an amount ranging from 5500.00 to 34,000.00 per violation resulting from each of
Defendants' unfair debt collection practices pursuant to N.C.G.S. §75-56.

104. Plaintiff and each member of the Class were injured and sustained damages by
Defendants’ actions and are entitled to actual damages to be established at trial as well as
statutory damages for each violation in the maximum amount allowed by law, as well as
reasonable attomeys’ fees for an amount in excess of$25,000.00.

THIRD CAUSE OF ACTION
Violation of the North Carolina Unfair and Deceptive Trade Practices Act

N.C.G.S. § 75-1.1, et seq.
(on behalf of all classes)

17

Case 1:18-CV-OO501-LCB-LPA Document 1-1 Filed 06/13/18 Paoe 27 of 45

105. All paragraphs of this complaint are incorporated herein as if fully restated.

106. At all times relevant herein, Defendants were engaged in commerce in the State
of North Carolina.

107. The conduct of Defendants as set forth herein is against the established public
policy of the State of North Carolina; is uncthical, oppressive, unscrupulous, and substantially
injurious to the consumers of North Carolina; and has the capacity and tendency to deceive the
average consumer.

108. Defendants' violations of the UDTPA include, but are not limited to, (a)
misrepresenting the character, amount, or legal status of the obligation alleged to be owed by
Plaintiff and each member of the class; (b) employing a system, policies, and procedures for the
collection of debt which is unfair, deceptive, and misleading, and not permitted by both the
public policy of North Carolina and the express statutory provisions of N.C.G.S. § 42-46; (e)
utilizing false representations and deceptive measures to collect or attempt to collect Eviction
Fees which are unlawful; (d) undertaking actions which Defendants knew, or should have
known, offends well-established public policy, state law, and was otherwise unlawful, unfair,
deceptive, misleading, coercive, and substantially injurious to consumers, such as Plaintiff; and
(e) employing and otherwise undertaking the aforementioned procedures, policies, actions, and
methods with the explicit knowledge that such conduct was in violation of applicable North
Carolina law.

109. The matters alleged herein were done willfully, or with the conscious disregard
of the rights of Plaintiff and each member of the Class.

llO. Plaintiff and members of the Class suffered actual injury as a result of

Defendants’ unfair actions. Such injury consists of, but is not limited to emotional distress

18

Case 1:18-CV-OO501-LCB-LPA Document 1-1 Filed 06/13/18 Paoe 28 of 45

damages and money damages resulting from Defendants’ demanding and obtaining fees and
costs in excess of amounts allowed pursuant to North Carolina law from Plaintiff and each
member of the Class.

111. Defendants’ actions were in or affecting commerce and constitute unfair and
deceptive trade practices, which are proscribed by Chapter 75 of the North Carolina General
Statutes.

l 12. Plaintiff and each member of the Class have been damaged and are entitled to
recover treble damages and attomeys’ fees incurred in this action.

FOURTI-l CAUSE OF AC'I`ION

Petition for injunction N.C.G.S. § 1-485, et seq.
(on behalf of all classes)

113. All paragraphs of this complaint are incorporated herein as if fully restated.

ll4. Wallace and each member of the Classes seek a temporary and permanent
injunction enjoining Defendants from attempting to unlawfully collect upon debt as set forth
herein pursuant to N.C.G.S. § 1-485, e!. seq.
FIFTH CAUSE OF ACTION

Petition for Declaratory .ludgment N.C.G.S. § 1-253, et seq.
(on behalf of all classes)

115. All paragraphs of this complaint are incorporated herein as if fully restated

116. Wallace and the members of the Classes file this Petition for a Declaratory
.ludgment under N.C.G.S. Chapter l, Article 25, and the Court has jurisdiction of this matter

under such statute.

ll7. Wallace and the members of the Classes have an actual controversy with

Defendants regarding the validity and enforceability of a portion of the Lease.

1 18. The Lease states that“[i]n the event we file a summary ejectment lawsuit against

19

Case 1:18-CV-OO501-LCB-LPA Document 1-1 Filed 06/13/18 Paoe 29 of 45

you, we may also recover from you the highest one of the following fees (which shall be in
addition to late fees, attomey’s fees, and any applicable court costs...” and-immediately
identified and described the three fees identified in N.C.G.S. § 42-46 (e) through (g): Complaint
Filing Fee, Court Appearance Fee, and Seeond Tri_al Fee. Upon information and_belief, every

lease during the Relevant Time Period, including Wallace‘s Lease, contains this same provision.

1 19. l-lowever, N.C.G.S. § 42-46(h)(3) states that “[i]t is contrary to public policy for
a landlord to put in a lease or claim any fee for filing a complaint for summary ejectment and/or
money owed other than the ones expressly authorized by subsections (e) through (g) of this
section, and a reasonable attorney's fee as allowed by law.”

120. The Eviction Fees, described as “any applicable court costs” in the Lease,
constitute a “fee for filing a complaint for summary ejectment” and is separate li'orn and in
addition to “the ones expressly authorized by subsections (e) through (g).”

121. Under N.C.G.S. § 42-46(h)(4), “[a]ny provision of a residential rental agreement
contrary to the provisions of this section is against the public policy of this State and therefore
void and unenforceable.” Therefore, because Defendants’ lease contains a provision that is void
and unenforceable, Plaintiff and the members of the classes seek an order declaring the
Defendants’ North Carolina leases to be void and unenforceable insofar as such leases provide
for a fee other than the ones expressly authorized by N.C.G.S. § 42-46 (e) through (g).

122. Wallace and the members of the Classes have an actual controversy with

Defendants resulting from Defendants' erroneous interpretation of the applicable law.

123. In a February 16, 2018 email to Wallace, Defendants claimed that “[t]he cost of
eviction is the responsibility of the tenant per NC tenant law 42-33.“ See attached Exhibit 9.
Upon information and beliel", Defendants were referring to N.C.G.S. § 42-33.

20

Case 1:18-CV-OO501-LCB-LPA Document 1-1 Filed 06/13/18 Paoe 30 of 45

124. lt is established law in North Carolina that N.G.S.S. § 42-33 is “remedial in
nature and will apply only where the parties’ lease does not cover the issue of forfeiture of the
lease term upon nonpayment of rent. Where the contracting parties have considered the issue,
negotiated a response, and memorialized their response within the lease, the trial court
appropriately should decline to apply these statutory provisions.” Charlotte Oj]ice Tower
Associates v. Carolina SNS Corp., 89 N.C. App. 697, 701 (N.C. App. 1998).

125. Defendants entered into written leases that cover the issue of forfeiture of the
lease term upon nonpayment of rent with Plaintiff and members of the classes.

126. Therefore, because the parties have considered the issue, negotiated a response,
and memorialized the response within a written lease, Plaintiff and the members of the classes
seek an order declaring that N.C.G.S. § 42-33 is not applicable.

WLL§I
Wl-[EREFORE, Plaintif`f; and members o_f the proposed Classes respectfully request that

this Court:

1. Assumejurisdiction over this action;

2. Certify the Classes and appointing Plaintiff and her counsel to represent the
classes;

3. lssue a declaratoryjudgment that Defendants’ actions as set forth herein violated

the rights of Plaintiff and each member of the Proposed Class pursuant to N.C.G.S. § 75-54, or
in the alternative N.C.G.S. § 75-1.1;

4. lssue a declaratory judgment that Defendants' actions as set forth herein violated
the rights of Plaintiff and each member of the Proposed Class pursuant to N.C.G.S. § 75-55, or
in the alternative N.C.G.S. § 75-1.1;

5. lssue a declaratory judgment that Defendants’ Standard Lease and any

21

Case 1:18-CV-OO501-LCB-LPA Document 1-1 Filed 06/13/18 Paoe 31 of 45

substantially similar residential lease agreement used by Defendants is contrary to N.C.G.S. §
42-46 and therefore void and unenforceable as against public policy;

6. lssue a declaratory judgment that N.C.G.S. § 42-33 is inapplicable in every
instance in which Defendants entered into a written lease agreement that addresses forfeiture of
the lease term upon the tenant’s nonpayment of rent with Plaintiffs and the members of the
classes;

7. Enjoin Defendants from collecting or attempting to collect any payment of
Eviction Fees from members of the Proposed Class unless and until a North Carolina court
taxes the costs of such action against a tenant;

8. Enjoin Defendants from ever collecting or attempting to collect any payment of
Attomeys’ Fees from members of the Froposed Class when their attomeys’ are hired to pursue
an eviction;

9. Award Plaintiff and each member of the Proposed Class compensatory damages
in an amount to be determined at trial;

10. Award Plaintiff and each member of the Proposed Class punitive damages
amount to be determined at trial;

ll. Award Plaintiff and each class member a statutory penalty in the- amount of no
more than 54,000 for each violation of N.C.G.S. § 75-50 et seq.;

12. Award Plaintiff and each class member damages calculated pursuant to N.C.G.S.
§ 75-8 for each week that Defendants’ illegal conduct occurred;

13. Award Plaintiff all statutory and actual damages to which she is entitled separate
and apart from the Proposed Class in an amount in excess of 325,000.00;

l4. Treble all damages resulting from a violation of N.C.G.S. § 42-46 in accordance

22

Case 1:18-CV-OO501-LCB-LPA Document 1-1 Filed 06/13/18 Paoe 32 of 45

with N.C.G.S. § 75-1.1;

15. Award attomeys’ fees to Plaintiff and members of the Proposed Class pursuant
to N.C.G.S. § 75-16.1;

16. Tax the costs of this action to Defendants, or any of them;

l7. Allow a trial by jury on all issues so triable; and

l8. Grant Plaintiff and the members of the Proposed Class such other and further

relief as the Court deemsjust and proper.

Respectfully submitted on this Z'Q&day of May, 2018.

Wl~ll'l`FIELD BRYSON & MASON LLP

C.
S o 1 C. Harris
N.C. Bar No.: 35328
Patrick M. Wallace
N.C Bar No.: 48138
900 W. Morgan Street
Raleigh, North Carolina 27603
'l`elephone: (919) 600-5000
Facsimile: (919) 600-5035

scott@wbmllp.com
pat@wbmllp.com

MAG[NNIS LAW, PLLC
Edward H. Maginnis

N.C. State Bar No. 39317

Karl S. Gwaltney

N.C. State Bar No. 45118
4801 Glenwood Avenue, Suite 310
Raleigh, North Carolina 27612
'l`elephone: 919-526-0450

Fax: 919-882-8763
emaginnis@@ginnislaw.com
k altne ma innislaw.com

Attorneysjbr Plat°mtj"Katrina Wallace and
the proposed C loss

23

Case 1:18-CV-OO501-LCB-LPA Document 1-1 Filed 06/13/18 Paoe 33 of 45

Apartment Lease Cuntract

§

”ml
_FM.:..*M.

Daleofl.easocontract: april-n 211 2017 - - - L- s- s ,. . ,
lwhenttrel.oatc€onrrnctiafilledourl nunn v nom ' ’hfm “ '

 

 

| Movi_ng in -Geneml lnformolion

t. PABHB. Thia Lcase Conrract tmmeu'mm referred to as tha 'lcam'l ll
between ylu. mo residential flt'st nfl pupl'e signing tltcLo.‘m-Conlmrr,l:

 

 

,_i __al\d¢la.theowner:
h o

 

 

frame apartment eminent or lr'llr ltc|derl. \'ou'ue ed to renl
nominal _ts."_.a MM
!s§!s mm "

h fdlyl. North Carolina.
7 _ responds for use aa a private residence or\ly. The
terms 'you' and 'your' refer to all testdonts ltstcd above.'rhe terms 'un,'
'us.' a_nd 'our' refer to tha owner listed above (or any ul ownor's
succe_ssord' lnlnterut orasslgns). erlten notice to or lromour nonagets
consummamdmmorlrom\o.limtymreelsehuguanntoedperfotmance
of this Leaae Contrac¢. a separate Laaae Contracr Suaronty lor each
guarantor ls nuclted.

 

1 DCCUFA.\'TS. Theapntlment will be occupied only by you and flt`sl all
crim occupants nat dynr'ny rio tomConh-c:rl.-

 

 

 

Noone else may oecupythcopartntenr. Petsons nor listed above must not
stay tn the apartment los more than leonsecuti\:c days without our prior
written consent. and no more than twice that many days in any one

J. LEASF. THRM. The initiol_torm of the bean Co¢lrracl begu\s on the
_Z_?.Ld_ dayol _____AEBL__ . and endstu midnight
the __ZL!.L_ day ol' . _-!EE ,_ . . 'I'his lease
Conl'r=lcx will automatically renew month-to-rnonth unless either party
gives at least _EB_ days written notice of termination or intent m
move<tut required by pamgraph 35.

'|. SECUR|TY DEPOS|T. Unl¢$$ modified by addenda, the total motley
depositor lh.o time of execution o! this Lease Contrat:l lot all residents tn
thooparonontias ,duconorbe£orethedatethis
l.r.'ase€ontroct isatgnod, mbeodmmhmnd inooeordancewith the Nordt
Carolina Tenanr Serurit_v Depeoit Act. N.C.G.S. § 41-50 ct seq.

ln holding your security duprrsit. wo will leland mt

3 Deposiltholaeorl d 'tinotrustoesounrwithlnarneolbanlt
nrmlnelinsumn?nt&h_oLML___

lootted ot (addresol

 

 

 

 

n Furn'mh ilde from [r\anteofbutdi:rtgcomprtny)
todder

ttl

 

lhesecurity deposit tnay, in our discretion beoeposlted in an lnlerct!-
bearing account with lite bank drawings insulation named above. We
may retain any interest earned upon the security deposit and may
withde such lnterest, ll ony. from suchoccoutu ositoccntea ns allen as
rs permitted by tha terms ol' the nceount.

'raur security dqtmlr wlllbe ladd and. upon termination ol' your lenoncy.
beapplied in the manner and for the purpose riot forth in paragraphsle
and 41 ol th.ts Lea.se Controc\.

I. K'B\'S AND FURNITUII.E. ‘lou will be providod_z,_,_upartment

keyul.i§mollboa bey(sl,und othr.~r;tsn:odevico

for . Your apartment will be leland oncl:
CI furnished orU unhtmished.

6. ilE.\"l° AND CH.l\RGl-LS. Unless modified by oddondo. you will pay
5 per month Ior rent. payable in advance and wimout

3 at tha on-site manager`tt ol'|ice. or
n at our outline payment alte. or
n at

 

 

notion mall/leo
0201.7. Nltbnul Apattmenl Alsoehtimt. Inc. - JIH)l?, North Coro

 

l’roraled rent ol$ ,_Z§LJ_I_ ia due for the rumolnderollchdom[.~
L'llstmnnthurn!ndtnunlh.on ._..._....._,

Olltmn&c.you trtttal yaty}our renton orbq,‘orethe lar otclttnouth{dm-
chill _nrt:llr no grant penitd. Cttsll is unacceptable reill:lnila£ur prior minor
penal-am ‘l'oo must mt rot'tlt.latldoro§`ul' rml unhampmslymrlbn'o:db_y
ttnlatr. Wc may, ot ouroptt'.on, require many time diet you payall rent
and odter sums tn cash. certified or cuhlet’e eheclt. ntottey order,ot one
monrth cheek rather-than multiple chee'kt. ll you doo‘t payoll rent mt tr
betorethe doyol'thernonth.you'llpoyalatochargeol'$‘ll
nl the rental payment or SlS.Bl'l. whichever ll greatcr. ¥ou‘ll also pay a
charged$ osprouided by low for-each rentrncd
check orrciectnd electronic payment if you don'tpay rent on umo. you’lt
be delinquent and all remedies under this Lenae Controcl will be
.r‘.tthoriaed. We'll also have all rather remedies lot such violation.

 

. U’I'lLlTlP.S. We'll pay for the following ilol'l\l. ll checked end if

permitted by laws
Clwotcr Q gus n electricity D master enntnno.
Dwastowuter n lmsh D cable TV Dother

 

\'ou'll pay lot ollothcr utilitu:s, related deposita, and any chargas. lees. or
serviceaonsueh utilities '{oo must not allow utilities tobedtsconmeted-
includlagdleconnactlon lot not pages your bills-until tha lease termor
renoon period ends.Coble donnell that ore provided may be changed
during the loose term il the change applies to all residents Uolio'es may
beusedmlylurnormalhouseholdpurpocuandtnust mbewos:ed.ll
r electricity is ever interrupted. you must use only battery-operated
i_r,hlln§, ll any utilities are aubmereted lot the apartment, or prorated by
an allocation lorrnulo. wo will attach on addendum to this l.ease Contract
tn mmpl.iance with stare agmcy rules or city ordinanea.

lNSlJRA.\’CE. Wo do not maintain insurance to cover your personal
property or prem:nol iniury. We arp not resppnslble loony nsid.:\.tl. gm
or occupant or map or los o persona prope or perl injury
from tlncludlngbut not limited to| msmoke, roln.?od, waleund pipe
leolrs,hall.icc.snow.'_,` `,. ` ,' ' 1 ' ,`
of utilities thelt. hurricane, negligence olother restdonts. oecupants, or
intritedlontn\rited guests orvanda lsrn unless otherwise required by law.

We urge you to get your own insurance lot loses to your personal
pru;perty or injuries due to theft iirc_ wautr damagel pipe looks and the

Additim\oll . you arelclnzkund m required repurchase personal liability

mr 1 'm, l , 'oahiriry' trw
bon is dtcc|tod, personal liabllity insurance not requlntd. ll required.
failure to tn ' ' , ' liability ' ia on ` " breach al
this Leasa Contract and may remit in the termination of tenancy and
eviction ondlor any ozl'ter remedies as provided by this l.enz Contract
or stole law.

\'ou adu\owled that no portion ol the rent paid by you under this
agreement will specifically allanted lar the purchase of the owner`a
structural lite insurance though theowner mayuso a portion ofgtost
rental proceeds obtained l`rotn all rental units in the community to
purchase such structural lite mmranco. and in suchan cuenr. that youare
lnno wayaeo-lnaurodundororry suchpolley.

. LQCKS t\ND LATCHF.S. Keyed helm will be relteyod alter theptior

movesout.“tc relroylnp willhedonaeitherbeloreyootnovetn
or, il tim apartment has a koyiesa deadboll on each exterior door. within
ill days alter you move in.

'{ou may titan time ask us lot til install one keyed dcadbolt ln:lr onan
exterior doorl itdoel not havoone; (2} install o barondlora|idingdmr
piniodronmdtslidingglassdmr;|}|install oneimylesadcadboltoneod't
exterior door. tel install one doorvlcwer on each exterior door; and tit
chungeorreltoy locksor latchesd ` thn laaseterm. Wen\usttomply
with those requesta.but you must pay or tl\an\.

What 'tbu i\re Nuw Reqttestittg. You now ruqust the following mbe
installed at your expense til ona ls not already installed‘,\. subject to any
statutory restrictionson what you may rcquesr.

® keyed d_dbolt lock -3 doom`ewer
C| keylcss deadde D sliding door pinloclt
a sliding door bar

Payment for Rokoyin Rapaira, Etc. \'ou m\ts\ pay Eor oil repoiraut
replacements arising I'B'¢otn clause or damage to der;ices by y:eu ct y_ou§
toqu , ocer§mnt.s, orguesta uring youroceupancy. ou amy requno
mpa;ina vamdwenmilyyouwltlunormmmbk unmaturyour
request that you ore more than JDdtty-.t delinquent tn reimbursing us los
repairing or replan'n; a device which was nusuaod or damaged by you.
your guestoron omtpant: urifyou hoverequmtod that worepair. insull.
change or ralroy the onto device during the 30 days preceding your
rcq\mst and we have complied with your request

04212017115‘01¥!12051652

l’ageldlb

Case 1:18-CV-OO501-LCB-LPA Document 1-1 Filed 06/13/18 Paoe 34 of 45

 

L

m SPECIAL FRUV|S|ONS. The following special mvisiotts and any

addenda or written niles lui-nislied to you at or are signing will
becooteapart oftltisi.eua€cattractond will oupermda anymri!ltning
provisions ot this printed lease torm.

 

 

 

Special Frovlsions and 'Wltat lf" Clauses l

rocoveryot'rentordamagalorbrcsdi ofcovenants..norshali the rtitil
receiptoirenttiiterconditiansbrolienltedeeineda walverof|or¢:t. .
as provided byN.C.G$. lnordertoenrttle ustate-ertmrattdlor terminate
thtst.easeConrrsctfordefault.ttstiatlnorbedeerneo togtve
noticed mut being due and unpaid or of other conditions brolen or ta
mattedentatrdslorrent,dteexecutlonofthtsl.eaz byyouandus
hcin§:\tllicitmtnoticeol'al terotsol'this leasuConttnct lttciudlngolthe
rent irigduesnddemattd Iorthc line.Weshall haveallrightsgtamed
r toN.C.G.S. iaz-E.Qand §42-25.6.

 

 

See any additional special ptovu'ions.

RBlMBllItSEMF-\l'l'. 'fou mun promptly rci.ritbtuseuslor luxdaotage.
Tvernmolinqoeemolrepoiroorzrvicein tlroaperttnmtcomotuntty
ttetovldstimofdieleasecono'actorr\tles.lttiproperuec.or nce
byyouor|yourguectsoroempano.'tlrtlesthedanugeerwastewater
stoppage sdire toaurnegtlgenee,\ve'renotliabteEar-snd you must
pay replacement msts, and to the following lt
oct:orrlogduringtho lease Crrntraet termorrettetval pcriodi¢l) damage
v doors vdodows. or screernt unless noted by other than your
negligence (2) damage from windows or doors lett open,' and (S|
hunt wastewaterstoppaps ottued byiotprttperottjecte to liner
act y serving your apartment We may require payment st any
dme. incht.dingadvartn payment of repaitsfor which yott're liable. Dclay
tndernatidlngcurnsyouowsisnotnwaiver.

ll {A) EV|L'|'IG‘N GR SUMMABT mm AND mm l.EFl'
lN TIIE APARTMENT.

ll;i"tlieeveittyouvtotareenyo.-rnoerc:r.idittaruaiihlaleaseCona'tctor
toperiormany dutyor ' donyouhaveagrecdtoor
impued\tponmt law.tlten we,ln dltiontoailothert"ghtsa.nd
mrtiediespt'ovi bylaw,tnoy,atoitroptionsndwil.lrorwlthoutnotice
toyoueither(llterndnatethislease€onnactort!tmmouoeyourd¢hr
mpotsetslottofdieprendsuwithoinrennlnadnpddaleuecontracti
Regardlaitol'whetherweterrntnatethis LeataConn-artoronlytertninate
gurngtui_tfpetecsslonwtthouttcrituna itit'sl.c:tsccenoeet.ueshall
immediately entitled to possession the pretriiscs and you shall
peacehtnysuneriderpmtonotthepretnlststouslnonedtatetyupm
ourdcm.;a:.lndweventuntywtailtosunmderpmsesslm.mshsll
re-eritcr re-talieptosasiottthroug,hasummtu'yeieconent t
oreopeditedevicdonproceeddtgasprotddodbyNordtCamm:.”l:
tliecverituiatweertnimmthial.easecentnct.anaraiedutiesimder
tlilsl¢reeoterodollterminatoandweshailbeentitledtocoilecthomyou

sllaccntedandttnpaldtents,realicedoonmsaioris.anddamogesarism' ' g
undathisLsrseConttact.

ltwettringasia'titgnoutyoulorntmmary' cnt.rlteCoitntysherlli
maynauveyourpmwmlpmputyhom apatttmntwithinlda s

tmmdiodmothesheritireeetl:estliewritoil;om‘c:tm¥ou'must
powdrofyourptqetty iltsremoived y sheril'l" .l youdorutt
dontltesheril'lmaylclnnpfordtostocsgeol ptoper\,and o
edllhelllblolorthecostsdtlwprtmeoddtgsayn|:lufthesmm;eoly{t.ur
m‘ s
llthoeltct'i.fldoesrtotsutreyourperconslp nmowdtmmtlie
apartment,weotsytlhponessior\ofitandmvelt sroragepurposes.
lntheevu\to!onetiecuo?onofawritof?ouesshiagairotyottyouapee
that this suttertee hereby constitutes our after to release your

propertybyoudurutgourregulsrhusuteseltotuslorthesevettnlmdar
d;yperiodfol muenttt'nnofawritotl’osscsslan.$evenda
a crbeug'

irtlawfulposse§iortofyour reanai roperty y
diawritoll\tsseselor\.wemaythrov|iesway,dpisponol,or
scllyuurpeopcrty.lfyouretptestthntwercleaseyourproperrytoyou
dutingthesevendayperiod,wemustdosodtaingourregularbuslriess
huun.lfmelcotoeeuyutrpmputy,wemttsty'veyouatleansevm
dayonoticepriortotltenla.andwemustreleasyourpropenyto ll
yousotequstbeforethesale.llyoudonotrequrrsttliotelease your

wilton seven dayl. all cuts of summary eiccoriertt. nemour.i
atonseproeeedingsshaltbedta to asuturtcustsandsho
consdmtaeltertsgtlr\srthssroredprol?:rty.’ou
lntheeventwetermlnateyourrightof ' withoutrerrnl.noo'n
thisl.ease€ontrnct.youdiallternainlia lorthefullperlu
d\emveitsnrs.mdweshauusereasuisbleeliortstore-rentthepreodses
onyourbehsll and you shall retriain llable lot any rcsultlngcosts,
dmdcmuorhmags.Mysummmbmzwdhmnmtth
besppliedfirtttothecostofre-ccntin¢thepletnlsssandthentothe
rcraalsdiieuriderttdsLeaseCoriuact.Rc-erioytlisnnotharniartghtoi

oiioctttion

Il| ABANDUNED FBGFE|\T\’

ll you abandon personal property with a value of im or less ltotrt
apartmentorfailtoretnovssuclt attheti‘rneofettecutlonola
Writoil'omo¢cwemay.aasnalternadvctottreproceduroduulbed
tlon regular
hlmishinpto

above. deliver the property to a non-profit
prot-idirtgfreeorlnexpendvedoalthtgor

lnnecd.provldedthattuch agrecstastotetlieptodp:rty
separatel hamhqdayMr:hnrltmwadmt

du ‘ thlrty=dsy period. We will deem potential property tal§:
aanedttwaflndevidenceclearlyshowingdteapsmteruhasbem
voltmtarllyvmredoltertltercntal perlodhasetqaited
notice ole disability tlutt earned the vanricy.

llrhe total value al the property reh iri the apartment ar the time ot

execution ofaWritolmon islessthanfmweauydeemtlte

Wamawhw&pmmymmormd
PNF¢"Y-

l..\. FA|L|NG TD I'AY FIRST MGNTII'S REN|'. ll you don'l poy‘ the filst

ll.

nuuh`srentwhenorbdorelleeoseContrsrcbeglns.wentsyendyour
rigttot oceupancyand romver future rent. relating
atmrne{st=e,coitrtetots.andotherlawl'uldtsrges.Thtspa
aotapplytotenninationoldtol.ease€ontenctltormote yebeiate
ottupancybyltllilitaryl’crsonnel underwth

ltEN'l' lNCREAS£S AND LEASB CUNTI|.AC'I' CltANGES. No tent
itcreusce

Conoscttartnertdnexceptlorchangesallowedbyany ecialprovlslotu
inparsgrlph llbyawdmnddmdmwmndm;,nslgtedbyyw
and ua. or § reasonable clungesol apartment niles allowed under
l . ll. at least 5 days before the advance notice deadline
phlwe'§ivayouwttttennoticeofrentincrcacesor
leattechangeselfortivewhcri closcterotorrenewalpntodends,iltis
l.ease Contract will autontatlcall continue ntonth-to-tnonth with the
increasedretuorleasechangas. nervrnodilledl.easeconrraetwilt
begin'ontltedaresta!dirrtlmnodco[wltltoutnecssltydyouraipothat|
unlessyousieetrswrlttentrtove-otttnoticeunderparograph$o.

DELAY GF DCCUI'AN€\’. lloct:upancy is or will be delayed for
construch rcpoirs. cle or a revlous residents holding ovet,
we‘renottcs|notstbleforthe ay. LeaseCoritract\vtllreotalnln
forcesubiectto:(llabaterneritulrcn!onadodybasisduringdehy:and
myourriglntntcreunnteaseetforthbelow.l'crmirtatlonnodremustbe
in " .Al'terterrninatior\.yoitnntettd.tledonlybiehotdofdepoelt(s)
andanycentpaid. Renta.bareeteritta' l.nsoCotttrmtot-tntnatlmdou
mapplylldclayislorclcatiiri;orrepaltsthetdon'tprevantyouhom
occupyittgthespnrtment.
lltherelsadel.'tyar\d wehovcn'tglvennotieeo!delayassellotth
immediatelybelow,yournaymml.nste uptoth~ed.ittewhenth~eaparrtr¢nt
ismdy|loroccupat\cy,burnotiater.
(l) ltwe vawrittmnotleetoanyofyouwhmorahertheinitialterm
asset orthinl’brogrophJ-a.nd tliettodoedatnthatocl.'u has
bt.'et\dela becouscofconstructlmora reviousrsidenmi:tg
over, tluttthesparunentwlllbe yonsspeell'icdato-you
' lessol'.`onb'actwlthin$daysoiyoucreeeivlngthe

ill ltwegtvewrittenrtoncetoanyotyotibcforethetriirialtermaseet
lorthtnPa phlitmmdthenotlc:uslt;etesmui;t:nsoucriondtday'o
that t r to on
:xm‘spectfkdotoyoum::mmnmmuumduhleémo§:wldun| ya
alter anyot yott receives written mdce, but not lsrer.T|ie readiness
datelsconsideredtlietiewiriltlaltemassetforthinl’amgraphllor
allpurposes.‘l'liisncwdatemaynotbemovedtoanmrlicrdate
unlesswnan.dyouagree.

ltt. DICI.OSURB RlGllTS. lleorncnnn requests information un youor

your rental history for law-enforcement, governmet\ral, or busitien
putpose$ we may provide it.

 

l Whi-le ¥ltu're Livin§ln the Apart:irtent l
\1. mMMuN\“ mucl'£s on BuLE. 'f¢ltl ltl\d Ill guild and

mustcotnplywithany wrltrenapatorvent ntlesaridtotttm
lp.:l'il¢|l,;.m:tlclui‘.l' property.°ur wheeling
considered lpart this LeacoCcritruet. Wo may malta reasonable changes
to wn`llett ruln. effective immediately, if they are distributed and
a lnlrletoalt uritotn ttieaporor\entwtntriuntry and dartolchanp
amotmtson page l of this lear Oontroct.

ll. I.IMITATIUNS GN' CONDUCl’. The apartment and other oreus

reserved l'oryourprivato use mustbebeptdean.Trash mustbedisposed
ofll least weekly in appropriate rx¢pmcie.s lrt accordance wllh local
ordlnsnees. Passagcways may be used only far entry or exit. Any
Nimmh\;pwh§mlpz$hlmin hd\.caclclaelooms,storetooms.
laundryroooia.andsintilarareasmu§t beused withouc titacttn'danee
wltltspotttttent rulessnd posted signs.Glastconninersareproh£b\ted
inallcommanareas.\'ou. yoiu»oct:upants.orguestsmay notany\v‘lttn'o
itt the a t corrirtiuniry: use mndles or use kerosene lamps or
kerosene harms without our prior writttnt approval.' cmlt on balconies
oroiiolde:orualicitbusinao»ormntrlbutlons. Conditctingany ldnd of

'bus`o'tesl (irt¢luding c.ltlld are serviced ltt your apartment or in the

deem when
Ozol?, Nsdutal Apartnient nssociatlort. lnc. - SINll'. North carolina

apartment immunity is ptdtibt`ted-exce that any lawful buslrtsa
midircted'erhom'bycmpiitenmailorpietephuiels tellr
cunomtue,ellantls."p_sdenmormharbtobtcssassodstcsdoootcomato

your f , Wornly ,' (1\rhetaeool’
ch. mr t mm . d. . md
dcllvetypetsorts;and pl recreottonalacovtnestncotnrnonareas.'rou'lt
bellaltletoushrdontagacsuledbyyworanyguesouroccupants.

wentoyeirdudefromtlteapsttmentcotrtmunl guestsorotlterewtio.ln
ourjudgrnent, haveboon violating the la\v. via tlrtlthls lesseContract
oranyaparrtnettt rulett. ordlstttrb other restderiu, visitars.
orow'rter rcprseritudm. We may a exclude from any outsidea_rea ur
common areospersonwhoreusntoettow photoldcntlllcattorior
rehisesto identity himsellorhetsellasatesldsr\t.oecupaat. urgucslol
l specific tolldctll itt dtc ootstoturtlty.

Youogreetonotllyustfyouoran tsareconviucdoianylelony.
or misdemeanor involving a conyttul:s cubstarlt:e. violence v another
personordemtctionofproperty.¥oualsoqgteetonodlyusifyouorsny
oceiqtttnt esa occasion 'ui any ttate. us ofct'lmtrial
cot\vlctionsoracttol'lcnclerrcglstr'ydoos not walvoour ttoevictyou.

0421201'|115‘02|1'!|'12051652

merits

Case 1:18-CV-00501-LCB-LPA Document 1-1 Filed 06/13/18 Pacte 35 of 45

ls. PllCll'llll'l'EDmNBtiC'l: Youandyutr_occupentaorguestarnryrirrr
engage in the loith octivittu: hehaving in e loud or ottnoaioue
dl the rlghr.e, ' health. eatety.or

cu;o:venlenoe ofotherellnclud ouregen.tsand errt ploytxsllrtor near

a rtrnonr cornrnunl isrupttng our buelneer o rrone.
marrarln@ delivering p!:smslngwl wltltl¢ttent toileliver. upo'tlnterwilo
poncsring a cratrrolled schemneeordnrg paraphmalie imman irtor
threatening \:olertce: possessing a weapon prohthilcd hy state larr;

 

in thc ,. displaying or
puessin£r;g:t.m gut..htifeorotherwoaponirttlteoontmonetcalnaway
thatrrtay manganydrlngincloserahnvirrggreappliarraer.-

tampering with utilities or telecommunications bringing hazardous
matcrlah into the apartment eomrrurnlty.

m l’r\lll¢lNG. We ma clare the tlotc, rnenncr. end place of parking
mrs,truclm, boeta, trnllcre,endrecrealional vehicles
byeoyone. Wo my have unauthorized orill_cgelly parkedvch ‘

under en opp e etatute. lt vehicle 're unauthorized or lltr.-glly
porhedtntheepartnterucornmur\ity lite

(l) hasallettlreorotlteromdillort renderingitirtoperable:or
Plr'rrlsm|och.ltloclroorltaswheel(e]tr\lsslng;
131 hasmmmntlhemewmmnmhspsomnkkn: or
(4) takeaupmorellmrtonepaclirmlpue:or
¢5) .hcl e to.lll a resith or occupant who has surrendered or
theilparo:rtertt.'tttI
(i) llspet‘l¢edirtetortrhetlltrtndi\\‘,aptrtacr.' withoutthrrlcgallyrequired

mtaperledtncpaoz mrlrediorrnenager,stoii,orguutettlteomce;or
g ispzrlt;dl.n fl lanerm:estgteted' pari
a re or 'no 'erea;or
llo)'operhedlrtaspemrrterltedforoiltcrruldcntla orunitls\:oe
(ll|isparlrrrdonthlgreso,eidewal|r.orpatlo;or
ll'l|hlochlgerlrogelrtrclolromamsstoedumpster.

21. RELFASE OF ll.ElDEN'l' Unl_ you' re entitled tomminate this Lease
Conoertanderparagtephs lll, 15. zt.orSo. youwcar'rbercleased lront
hisl.cuo€orttrectl'oranymsm-indtld bulnotlirnlledlovoluntltry
or involuntary shall withdrawal or tea .t¢olunmry or involuntary
iob trenslcr. niarrio;e. separation dl\torce. recortciliatlort. lose o| co-
ttreldents,loseol'ernploymerrt.hd hcalth.ordcallt

Z. MlLl'I'AK\’ FER§°NNBl CI.AUSF. Yol.t ltt_eyl term|l\ttlc the Leaso
ilyouertlistorerodrel’redorco |rttlteUS. rhrrrted
Foroct.Yoyelsooteyterrnlnatetlte leaseCorm-act il:

|‘l) youare(i)emeotberollheu.§.l\rotodl"oroesorrcscrvcsonective
dutyor(li)ernemberol'thoNetionalGua.rdcelledtoectlvoduty lot
Tmm$mmmma narionalernergeneydecleredby

121 you are either (i) given chenge-ol-srarion orders to manmtly
departrl'telocelarea,lil)deployedwidtemilitory unito ormdaysor
more. or (lti) relieved or rcleacd from activeduty.

Alteryoudelicertous rwrirrenterrntrtetitainretca.lhol.nse€ooo-occ
vnlllreterrninated eruttsotiltraryclrt\oeslldayaaltcrourrecllptof
tl\erettlce.¥ouoomiurniehuee of your

mdmardcre.c.all-u ordera.ordcp memo mortetterd.`ch:nw Mlliu
perotinlonlor doesn'l oorotitulee pcrmarterttdrm
statie'tuder. Mtcryourmoueout.we1lrctumyu.rrtrxuri!yd

lawful deductions li you or any oo-rceidcrtl are e ent Lol' l
mm lith.§&rvltcrn.c'mhcreCltrll lcl`N.'r.dtis
lose Contrect may nor terminated under this paragraph without
applying to e court end showing lint your chill to comply with the
l.eoscContr-octhrrreteriall allcctedbyreeson tl\eeervlceoremlrcr'e
military service. lt ertt who le not your spouse or enr
annot terminate under this military clause. li you terminate lease
Controctltorrooredaysheforeoocupancy. nodaotogesorpmaltiesol
anyklrtdehollhadue

D.RESIUENFSAFEI'\'ANDPM?EII'\'I.OSS. mandell
andgtrcssmtrateaerctsnduerereloryourowrtartdothers'eeletyend
security.especlal intheuseolerrtokedetectorsendtstrlronmonmida
detectorc. tloclta.lteyleseboltingdeuicea.windowlatrhes.
andothersa orsecurirydevhce.'t'ouagrootomolrecveryellortto

followtheSocur-tlycuideltneempagth

Smohe Detectora end Carlron Monorrlde Derecrore. We'll furnish
smokedeatctoraendcerbon monotrtdedcrectorcas requiredhycutute.
and we‘ll test them end guide working botteriu. lie llcalrle, when
first telco siler titol. u must
agana es needod,pwm the law providesy° otltcr'trlsepy.W We tony mmph“replace
dezlorrn _lrrtterlesotyourexpcnse,withoutpriunotioetoyou.
Younrustpc ylmpectthesrnoludetecloreendcerbcarrrmde
detectors to msure thor operahtlity and immume lemaire
detemor and noon monmddedetecror miltonch tous. you
norotheraotoydisbleentohodeh.cmtotdorrbonroonotddndeteclore.
lf you disable or damage the smoke detector end carlton monoxide
detector-a or tall toreplaeea deed harmryor reportma|l'unctlorrato us,
yrarrtreylre Mhmusendothoslorenyloszdamage.ornnulromnm
smoke.or welcr.

Cesueltyl.oao. We're not liabletoarty rotidmt.guest.oroocupartt lot
penetratin]uryordamageorlotaolpereonel from utue.
Ml::tw mtllntttodro::“ir::eoroko,ratrt.llood, wakt:.randpipelealr.:|
. snow. tlgltirtlng. w eaplostone. interrupting

udlltlee.theft.orvartdalismunleceotherudscreqatredlry law. Unlesswe
instruct othcrwisc. you must-for al hours a do during treele
wathen-(l)kccptheeperonentheatcd toetleesr degreesle
mtsinetandcloretdooreoper\;mdd)dliphotendootdwererlaucets
¥ou1lholilltleforda toourandotltors'properiytldamlgeisceueed
oyhroltenweterpipes uetoyourvlolotr'nglheserequlrementa. lfyou
aalmurepreomnllvutoperlormeu-¢iccsmcclttempielodu\tluslease
Corttran.youwllllndemntlyusendholduslurrnlecelromallllohtlity
lorthmeservlcea.

keeton lle.l.l.eoo
Ozllll'. Netional Apartnu.'nt Amciatlon. lnc. -3!20|7, Norllt Carolina

crime or llmergency. Dtat 9'll or immediately cell local medical
errrergrncy,lirc.orpol'tcepereonnelln asedat'cldcnt,firc.smoire, tx
suspected crirntrtolactluiryorotltcreotergcrtcytrwoltdng imminent harm.
You should tltenoantactourrcpmenterice. Yoawon't treat rmyolour
security mcasurcsasen crprcsaorimptled warranty decorriry,orese
guora.;t:‘:“mb;g'lt.inst$mc or of reduced risk ol crime. Unleee otherwise
proc w rcnotliebletoyorroran gamer
y bycrlrrtlne lnecorti

umw or toro to pcrsonor cerrsed
B-r"pctoonlr including thel`t. lrto ,esseult, aettdalirrrr. or other
e're notdrllged to lurnlcltseouri persutttel, securi ryltghl`mg,

::cmurityga teaorlertcoe.orother lornteo security union by

stenrre. We'renot reeporoihtelorolrtatningcriminal-hlslory mclltectaon

any residents. occupantt. guestrr, or cone-actors |rt the eparottenr

cornrnunity. li'youorarryooeupanlorgues'rised'lectedbyaccime,you

mustmalreawriltenteporltootu'repreeenraricoendtothe riatrr

local law-enforcemcnt agcney. 'l'ott must also lllrnieh us the laur-
oger\cy'e " report upon rcqttesr.

M. COND]'I'[DN UF TH'E FREM|$B ANU ALTBM'I'[ONS. You'll ho

gluch art lrtucnto and Cortdiliort lornt on or before move-itt Yorr must
noteottthelorm ldelecorordansel$endretumittoourrcprascntative.
Othctwise.overythingt\nlllreoo redtolrelnacleart.selo. endgood
wortingmtdltloo.

Yott must usecustomery diligence lrt rrralnteirtingtlreapartrnent end not
demagtngotlitrerlng theoornntonarcesunlcsaoutltoriced statuteor
byusinwriliogyotlilnustnotperlorotany plants
compelser orotherwteea rourpro .Noholuor
area|.lowed eorouuldctheeparorteru. utwe1lpemtlto
tensonnblonurnberofemell itel holeaiorh picturesoncheetroclt
walls and lrt grooves of wood-pooled wa mills our rules slate
othert~ri.re. Noweteriorniture.wuhlngrnachlnee.edditlonelpheneor
TV-cableoutlets,olormeyctems,orlockdtan¢u,addloons.orrelieyutg
ispcmtiltnlunleeemtulorilyallowedorwe'veeomntedinwnlins.¥ou
meyhtsmlleentellltedishorantenmprovidedyouelgttoursatellitedlsh
or orttenrtalcoseoddend\rm whicheomp|im with reosce'tehlercstrlcliotto
allowedbyledmllew. '(oua,greenottooller. .orrcototroour
property, irrdudlrtgllornttystemssmolredeotctore cortrmmomtidc
dct=tora.luntlntro.tcicphonea.ndcairtawvrlnng, ecrcute.|octa,and
eccuritydevicee.ererryoumoveirt,wellaupp!l‘ymligltthulltslorflrtturesl
wahor\lalr.'rnelu exteriortiaturceoperatcd trotdetheaporonenc
alterth.'ttyou’.l{lrcp themetyoureapensewidthullowh:llhth;nmetypc
and ourirn tetltee rtmrntl ornotwc
mm“““*'.,m.u.. M.,.. .........F'.. ....

B. REQUES'I'S. REFMBS. AND MALRINC'I'IDNS. IF \’DU 02 ANY

OCCUPANT NBEDS 1'0 SEND A NCl't’ICE OR REQU'ESl'-FDR
EXAMFLERIRREFAIRS INETALLAUONS.S£RWCE.ORSECLWW-
REMTED MAT|'E|E-l'l MUST BB SlGN. AND lN WBI'I'|.NG TO
OUR *GNATED REPREH\|’|`A'I'IVE (except ln ma ol llre, rotoke,
gate. explosionl overflowins sewage. uncontrollable running weter.

electrtcelalto!u.crimeln pragmordnntlrtentlydortgeroosmdldom
esspecillcaily defined by lew). Orrr minn mrearar youroral request do
not constitutes written request lrorn you.

Chrrcornplyi.ns withot' rcspoodittgtoanyorel roqu- regardirtgeectlrity
multeredoesn't waite the strict uirenrerrt !or witten
notmunder teaseconrrace.'{ou mustpron\p notify usi.n writing
oil inter leolu; electrical problems mallunc'
mining locke or letches.~ end outer conditions that
property, hulllt, or ee!ety. We mcgee hangs or irtste utility lines or
Upote_nt serving theopartrnerttllt work iado:teremtebly wltltretl
tentiafly ittcrcrslngyou rutllitytostl. Werne tumoflequipnteltt
endilt _utllltlesaoneededtoevoidproperry ortoperflorn
work.llat molhmclionorercd_amagedbylite.wallo.orcio\ihr
oruse,yoomust notllyour repreentarire unntedtatcly. Atreondltloning
problem ere rarely cmcrgertcis. ifairctarditioning or other cqu
moliuru:tloro,you sanctityour repttsentetiveae com aa
e business dey. Wo‘ll act with customary diligence to make repairs md
remm-

tlwetrelleve tttatfireorcotestrophic damageisauhstantiel.orther
perlomtertceol'necded rcpairspo.tesa toyou.wetrteyterrniltete
thhl.e.-raecmtroctwlthlneroesmohletime givlngyouwrittenootlce.
lhl¢l¢aae€ottlmctinotenninated.we'llrelundpromtedrenrandell
deposite.lttsalewfuldeducdoru.

25. $lMALS. No p_rriotelb {includi'ltg nror_rrrrrole, repll'lr:;_ nlrr':::.folr, rtairnla,
own

m r-
n;atrlrorrrl community unhearr' ornamlhart'ee§t'n rart'll£ll .ll' we allow art
onlmel. you must sign e r-.tto animal addendum require
additional tenants ccc mother chargrs. hiredde
lsconsldered o portolrhegeneralmuritydeposit. foumttstrerrrouean
ill animal'wltltlnz\lhmrsofndioofromue.oryouwl.llboconsiderod

oltolth.hleaseCono-rrct. Wevdlleuthor'leeeaupmonlrruilor
e ll`t'lhrrlrlied |hendiot edlpersort. We may uire a written mtcouml
lromaqaaill’lod proLkutllvctlet'nglhc Iordtoeupportenlrnll.
toumunnorfeedctrayorwitdenirnola

ll you or any guest or cecupant violetcs animal restricqu lwittt or
without your knowledgel,youlthe audiect rodterms. evictiun.
mdotlterrernedlesprou'e‘lcdirtthill.cese€onoect.'{ou rernoveany
viously permitted under this Leaee Corttract and the Anlmel
l?A.rl£'ltedtrltt witltinJ.§-, hours ol`wr'lttcn not.illeetlott front u.l that
lhepct_.l_noursolei nt,croamenalsonoeordlsturbenceorla,ln
our undue|rlb llarrartlntolhasbceninthcoprtrtmen.leteny
time uring your term oi occupancy lwith or without ourmrtsent). we`ll
chargcyou lordolloeing. dcodorlelrtg.and shontpooirtg. initial andlddle!l.lg
animal-violation cho and animal- rcrnot-'el charges are lieu
damgaalorourtime. venimce.and overlreed inceptior attorneys
leeaend litigarloncesrr)lnenlordngentmnl resolctlomrndrulec.

. WIIENWEMAYEM'ER ll'youoranygucstoroccupantisprcseol.
mother

then tep=lrers. mm cottu'actora.our

listed irt m below may penrol'uilyenterthe oparcotentm al crime
04212011115403|$12051652
l’ag$dt'r

Case 1:18-CV-00501-LCB-LPA Document 1-1 Filed 06/13/18 Pacte 36 of 45

ll.

tar the ourpoaer liaord in(Z) below. ti nobody ls in the apartment rud\
persons ma enter peacefully and at reasonable tirnea by duplicate or
master key arhybrealringa window orother meana\\thennac\:rsaryin

emergencrea)ll‘

(t) written notice al the entry ia left in a conspicuous place in the
apartment immediately after tho entry: md

Pl entry ia fan responding to your requoat: making lyons or re-
placeman estimating repair arralurhishlng casto arm'tng pest
moot doing reventive maintenan-; charging i]iera; testing or
replacing o-detcctor barrcriea; renieving unroturned toola.
equlpmenr, or appliances presuming waste ol` utilities leaving
noticea:deliveting, installing racortmcting, or replacingappliancea.
furrtiture. equipment ar security devices.' removing or relaying
unauthorized security devices stqrping eacesaiva noise: cutting oil
electricity according matatutt.-: achieving propertyowned or leased
bylomrer '* r 'vwhen' "“ rtnr
p ttyiatuasonablyeuspected:allowtngpercor\elocnteraayott
au ircd in your rental application (ll you die, arc incarcerated

etc.l: allowing entry bya law lillianl with search or arrest warrant or
in hot pureuit; showing annum to prospective mcmann latter
move~outorvacalo notice beengivenl;or ` apartmme
E:vemment lnapectora for the limited putpoa determining
using and fire ordinance compliance by ua and to lendera.
appralaare. contractors respective buyera. or insurance agents

28- MUL'I.'IPLB RE{DEN'IS OR OCCUPANTS. Each lulldorlt la jointly

and seven liable for all lease obligatiom. if you or any gust or

t_ the lase€ono'octorntlee,alltesidmtalreconsideced
to have violated the l.aase Conrnet. Our requests and notices to any
resident constitute notice to all residents and aecupanta. Naticee and
requea\a lrotn any resident or occupant (lncludl notio- al lease
tecminatiut, repair requester and entry pennisslor:t¥conadtute notice
train all realdenta. S=ucitydeposit refunds and deduction ltemiaotiaaa
of multiple ru'dants will comply with paragraph dl.

 

l Replacements _1
ts. ttl't.aCEMEN“iS ann suol.ETrlNc. Reptacing a resident sub-

lett£n& or assignment is allowed only when we coruant in writing. ll
. . m . . a find l . 7a . .

 

 

mlcabelore ' o`;standwee mlrcttnaemmtlutte 'rttt.'nl.

mbiettin&o:mmlaulgnmenr,then: up y m

m are dtargorcillmlbeduc.'

m zreosona adminiso'!aet:va lr|anr:loru'ansfcrieemillbe

uc. andatoho ` will due ilte l lt ueaiedor

minimum l""\& *l' ¢'5 "ll

(3] thedeportingandrctnainingruidentarnmtemain liableiorelll.caa
Cmtractobliptionsiurtheresroniwonginallease€onmnterm

Froceduteefork¥' lfwe n a r' "
then. at our aptiorr: ill the replaceth resident must tl\ia lease
¢" with or without an increase in the total secrnity posir:or til

rl\etetr\aitti and replacement restden.omustaipianentirolyncwl.casc
Gonu'act.U weagreeodrerwiaeinwriting.ywraec\rrl deproitwill
autarnaticallmy misc to nurge replrricemleurtllt rea|it.lent :dr:wt:te data we

rova. d re ' entwil nn r vea osupmy
:l:l:ectrtity¢d£pcsllronh§!\d,but will mmainl$iablel'ord\eremainderollhe
onginalLeaseCorruacttennunlmaweagreeotherwiaetnwriung-¢ven
llaoew t.eeaeContractlssigned.

 

§ ResponslTr-ilities of Owner and Reeidenl \
m REPONSIBILITiI-S tiF QWNER. We‘ll act with customary diligence nor

(‘|) comply withlheapplltablebuild and ' wdos:
|2) maheallcepatn' anddowhateve|:gnecmrths":gputandlrcepthe
rerniaes ln a fit and habihblo condition;
E)’ p all errrrrrr\rrrrs`miateaad oflteh::;ems misco in mfc ctrredllioru
tt maintain in an ta ' order and pruitt rail
clflighter and appliance supplied or required ia belu,:;l by \l~!:

l5) pro\'ride operable srnohe detectm-o and rephce or repair the rlrtoh
detectors Wldlin l5 thya of receipt ol your written ootllicatlon to ua.

DEFM.|LT B‘Y RE|DEN'|Z ‘tbu'll hein default ityou orany great or
occupant violates any term olthia Leaae Contract including ul not
limited to the following violations |l| you dan't pay rent or other
amounts that you owe when dae,- (2| you or any guest or occupant
violated the apartment nth or fire, safety, health or criminal laura
al whether or where arrest or conviction occunt; (3} you
abandon the armour |ll you give incurred or false unaware in a
rental a ca utu l-'¢l yW oraoy occupant is aneatad. convicted nc
ivan de adjudication lora Mony offense involving actual or
potential physical harm ia a pcraon, or involving pmacasion,
manufacture ordelivary oh controlled aubum_tce, notijuana. trt drug
yamaha anderson etatttte; ¢5| my illegal drug or paraphernalia
are inyourapartotcltt:myouorany;ue.ttoroocupantcogagea
in any of the prohibited mduct lo Paragraph 19,- or lS| you or any
occu nl. r'n bad falrh, makes an invalid complaint to an official or
mrpl|:t.yce oh utility company or tha governmenl.
Evir:o'on. iiyrmdelault.wetnayce-errterandre-tatreposssalonolthe
premises la ided in Patl,gtaph ll and may immediately institute
preceding mmryeieconcmlopnwidcdby law withor.rtnutioe
ordctnand.'i'enninatiarr ::Hurpasamonrighatorsuosequent relating
doeen't releaacyoulrom iryfar hrtr.ue rentorothcrleaaeobligatione.
Mter Eling a summary ejectment suil. ute may still accept o rtial
payment ot rent or a ' ' subsidy payment.' the li ing or

' owcptant'e doeen"t waivo_or diminish our right ol eviction or any other

mountain .Acceptlngaparrialpaynrentoirentora
partialltousing aubaldy payment at any time doesn't waive your dclault
oiuuaLeasoCormct:murighttodamagea;pastoriumrereruorodmr
mn:,;;tol`rleanevictionortocontinua with filed ovidon ptocee.t'tninp:
nor aurerercikolan dotu'riglttainthial*aruga violate pier
lsd the N.C.Gencral$tatllrm. Ph

lloldooer. ¥ouoranyor:cupanr.invim, orgueatmutt not holdover
beymddudateconhinedinyourmoue-outnotinorornnoticetovaorta
lorbaymrdadilierentmovo~outdatelgreedtobythapattiealnw' .
llaholdoveroocura.hru|l|holdovertenliadueinadvanoeona y
hsisandmuybecomedoibiqumtvdthoutnotinordemand;(l]rentfor
thehoidovcrpcrlodwillbeinucamdbymoverdretlen-mdstingron.
withoutl'td$¢e;m ydu'llbell.ablotouaforactualdnrrteguaatislngoutol
luiltermolthepreviouslys|grudleasoconnactolanewrcsidemuha

otr\'i occupy because of the holdovar; and (a) at our option we may
attend tl\a|eaaeternt-loruptoone month lrornthcdateo noticeoflme
etienaion--bydelivctingnn'itten nodcaioyou oryourapartment while
you corttan' ue lo hold twel.

Ollrerllcmcdiea. llyourrent iadelinquer\tand vague 5daya'pr'nr
written ntaice. we may terminate ehctridty diet wa’ra mistted at our
expenae. unless governrttertoti lationa on auhmeteri or utr'li
proration provide otherwise at otherwise prohdritec%y law. e
may unpaid ama\rnta merritt agenciea. ll 'au default and move
outea y.youwill yuaanyamountsttaiedto tenmldiscotmtah\
paragraph 10. in ition leather eumsdue. Upon your default we have
alt other legal remede including lease termination and summary
ejectment under stare atarure. Wa may recover from u attorney'a lees
arrdrlilitigatimcoaratothoeaternpennittedbylaw. nthaevenrwellle
a srrotn\ar-yeioctment lautsuitapin.u yo\t. wemayalsotecovoclrom you
thehigheatmcolthe following leultvhit:hahallbalnadd.i:ion relate
leea. attorrey`s feca and any applicable cotlrt costa):

ill Oornplalo! Elir\g Fee. llyou crain default oltlllll¢¢anutntract
and il we i'lle and serve a summary eiectrnenl complaint or a
oomplatntiorrnoneyowrdag:inst .andiiweeiectmal.trnisrtha
carrrplabualteryouctn'ethedeta t.yourhailawal.laacranplairn
Filitt Feeequal toSlS.tDor tire percent l,§\) oldte omtidy rent.

w ' irhtgte‘ t.l|therentlaorbaidir.ed aFwernlncnlenhty.
theCmnplair-rt lingFeewillbasiS.lllor$b\y yourahareollhe
monthly rent. whi:hever 'oh|ghcr.

m Court Appearaneel»'ce. lndteeventtlrat(l|welile,rerva,and
prostcule succe§fully a wmnuryeleeoner\t carnplaintor complaint
lormreyowedapinsyouanddilelud buttrean
impushallovreus-inlieuoi'theconr ' latitng
nppearanee F:de%ual taten petcerallo%]:.:lhcm\hly rent. llFtl:
rerniaaubsid ya 'ttettlou' , Courtt\
wlllbcllllrotyouraharemmernontll:l!yy'tent. gm

ill 52de Fee. ln theew.'rtt thatli)youappeala iudgtncntofa
magisttotcandliilwe mediatyouateindeiaultol'theioaseatthe
nowtrialandfrll)we aiudgn\entagainstyouatlheoewtr'nl.
youeholl oweua--inliouoltltocomplairu FilinsFeeand Cotlt

nnceFea-a$ecmrdfrialfeeequaltotwclveperccnt(ll\)
dummtldyrcnt.llthemmthiyrmtuaubsldiredoyapwmeomrt
ernlty.theSeoarthcialFeewillbetZ'laolyourslmeofmontldyrent.

Midgatiotr ot

a. li maveoutearl.you'|iberu ecttoall
rcatedlaarmdet pa y q

Carolina law. We1l erreer customary d

act receive horn wheqttent resldsdaapbtat llabil| far
duraan tatum remand other sums due- m ly pm-

 

,.-._ .. __

any cmt procure rrpmentatirna, era,grmnta. 'hn's l.cr.re Qontnrct 'o tie
entire Wnrcrrl between you and ua. Our reprncntrtlittca lt'ndttding
|pcr.mnnel.. emploé:;a. and agenla] lame rur authority la tuition
orlcruritioiclltr'al.nm lntclornnyprrlafr'l, utdcas r'rr mrilhg. and

no authority to mh ptomr’tca. representation ar mcmann that impose
tccrtri.tydait'caorotlur ` ' nn urarour trpteerdativcrunl-r'n wrirt'rg.
Noartion or ornan our ropruentot|va will be considered a waiver
almy tubeequentviolatian, default.or tim¢rrplacoolperionnanee.our
not enforcing or belatedly oniarcr' written-notice requirernenra. rental
due dam litem mother tiger isnt a waiver under any drcuneranceo.
Eacept when notiu or demand ia required by statutel you waive any
nodceand demand hcpcrformancalrom ua ityou delarrlt. Written notice
to or front our managers constituwa notice to or from ua. Any person

0421201111540®12051652

keeton lla.l.

lim
Om7, Nat'ional A|nrtment Associatlat\. lrtc. - 312!|\7, North Carolina

Generol C]atlseo l
32. MlSCELLANEOUS. Nrithrr roe car any afm representation hear made

giving a notice under this Lcoao Contta¢t altould retain a wpy ol_llte
mem ictteror faa that waa§vcn. Faxaignaturaearebirtding. .M nance
must be sigtte¢l.

Exercising one remedy won't comtitute an election or waiver al other
remedies l.lnl_ prohibited by law or the respective lt\au.r'anu ultieo,
insurance subrogation ia waived by all parti-. All tom lea are
cumulative. No cmp|oyee,agent, or management company ls personally
liable tar any olourcrmtracnral. ctatutory,orotherohllgatiana merely by
virtue of acting on our behalt. ihia l.eaae toneth binds luluequeot
ovmera. Neitharan invalid clause nor the orn'msion d initiation any page
invalidates this l.eaae Contracl. All notices and documents may he in
Englialr and.atoutoptiort. inan lan tm|;eEmyoutcadorapealr.Ail
proviaiat\a regarding our non- bi lty and non-duty apply to our
employaea. agenttt. and managmentcompaniu.“tial.ea!€ontrattla

Pageddo

Case 1:18-CV-00501-LCB-LPA Document 1-1 Filed 06/13/18 Paoe 37 of 45

subordinate or superior to existing and future recorded monge ur
lendefa lian. All Lena conduct obligations must bepctfannedgi:t,' the
county rha apartment islocated.

All discretionary rights rucrved lor us within this LeasoConrrar.t w any
accompanying addenda are ar our sale md abnluie discretion

drill to \*acare. Rrs|donr shall vacate the Fremireaand remove
allor 'denr'apuannal property therefrom or riteeaplrariar\oi tila lease
term without further notice or demand l'rorn Owner.

l-'ORCF.MA]EURE: liwoareprevomedlromc ' performances
or any obligations heretrndor by an act of God, atri r.'pidcrnirs, war.
molmmrisrn. riota. llood, lire. hurricano. tornado.aabomgc. mother
occurrcnoowhidris rltccontrololthapartiea.thenuaaltallbe
excused from any luther pariormarica of obligrriors and undertakings
harounder. to rita lull extent allowed under applierbh law.

Fur\hermoro, itsuchancvcnt damagurl\eproperayto materially affect
lrsdabinbilirybyaomeoralreaidenlr.weraoowelhe:'xhnovaorteany
anda!llcoaosandyouagrratoeitcuaausl'roman lu erperlormanca
cl obligations and undertakings hereunder. to lull extent allowed
underappiicabla law.

H. PAYMENTS. Ar our option and without notice, we nyiap:; oney
received (odtcr than sale proceeds under paragraph 12. ta under
paragraph d,or ua'ri.ry payments subiccr ro governmental regulatith lint

to any of your unpaid diligations. then to currenr rent- rtileso or
notations on checks or money orders and rdleaa o when the
obligations arose All sums other titan rem are ua upon our denrand.
Mtor the due dale. we do nor have to accept cite rent or any caller
Pl'm¢m¥-

. ASSDCI.\\TI°N MEMBERSH|P. Wc represent drill dlher- ill wo u;(ll

lite managementh liratroprosmis tts.lsat thatirrtooi 'ngrliis
LeaseConrracrara reru:v"r'nlo!tlrisLemchnmt-.r.n n\emberdog:od\the
Narional Aparrmenr Aasoclalion and any aililiured ’srare and local
q,vartrrlonr|rrmitil ' of ' ' forrlarurea ` *
is lommd.

 

r

F Securi\y Guidelinoa for Resldenrs l

 

E. SECUR|'WGUlDELlNFS. lncoaperalionwirhtheNarr'onal merit
Assadadort, we'd l|.lwroglvo you errata important mreryguide 'n-. We
mmmendyoufollowtheguidellnesand usccomaronmlnpruciiclng
=ll'e conNcl. lnl‘orrnali orheromlpanis inyi:lurdvrelllng. including any
citildnmyoumayhave.aboattl\eseprideiim.

FERSONAL SECURITY_WHH£ lNSlDE \"Ol.lll. Al’r\l\'l'hilh'l'

l. Locb yourdoora and windows-overt while re inside.

2. membeylcssdcadholuonalldoon ileyou'roinside.

:i. arts ' mdm.acowholallrcrobyloolringdrtaugl\a
window w":chhale. ll you don'r know the pcraon, lirsr rail widr
himorherwil|touroper\ir\glhedoor.mn'ropenihedmrilym have
any doubrs.

4. llchlldren (who areoldenougltto rabecare ollltcn\selves)arr.- left
alonear rapannlent. tell themtouaerhe keylcrsdoadboit and
reluaelo anyorteinside wl\llayou aregorte-regardlcaso|wltethar
lhapersonisaarrangeroranapartrnenrmalnmnameormanagernent

employed

5. Don"l t name addrersor hor\anumberon '

6. If ymr'lr":c:n°:e!rned beam you'\'eplosr your hymbc’:?rmm
ynudictrusrharalrry.aslrthemanagcrncnrnrrelroytheiocla.¥ou
havaa toluvetha!dmc.aaiongasyoupay!ortherelroying.

7. l'.'lial!ll 'as.llthe!il numbordoesrtolopcra=inyour
nrca.lrccpphanrnurnberahandylorthapollcr.lire.andcmcrgency
medical aervlces. ll an am y arisenl t:al.| rita appropriate

nrnenral authorities lirst.t. call l.llernanay:menr. _

B. ycaraata-ltednectorandrbon monoaidaden.-eror monthly
tomkem:oirlaworklngproperiyand timbaturtuuenillohy.

9. Ureclryourdoorloc\r,windawlarchcs.andotherdsviusrqularly
mbcsurerheyarowarldngpropcrly.

lB. ll' your doors or windows are unseeuro due to break-ins ar

iocirsarlardtea.sraywitl\lrbndsorneigirborsmrtil
ingraham anna

rl. lmmediat:i§mporrtomana rncra-irrwria`ngdaredandaigned-
any need ira of loc lau:hcs. doors windo\vl. smoke
detacna,anda system

11 lmmedhtelyreprttomanagornen:-inwrldngdatedandaigned-
an malfunnionofolheru!crydevieucmdeyourapamnenr,aud\
ugrobengateloch,lnimcd-oumghisa\alairwellsandpnridnglota.
bbc|iedpamges.broitcn rallinga. etc.

13. Clasrniruir\s.bliadr,u\dwaarawsiudesunighr.

la. Marbor engravo yourdriver'o license number or other idenlilima`on
oavahralrleperamulpmpeny.

FERSONA.I. SECURI'I'Y-WH|LB D‘UTS|DE \‘DUR APARTMENT

15. Lockyoardoors\vltiloyou'regmre. Locllanydooritandle|o¢!.lwy¢d
deadboltlock.slidlngdoorpinlock.alldlngdoorhandlehtd\.and
.tlidirtgdoorbariltatyouliavo.

16. Leave a radioorTV playing sold while you‘re gone.

17. Closeand latch your windows wine you're gonc, particularly what

'rocn vamrian.
lB. oilyourroommatrarrpouse whereyou'regoir\gandwlten you'li

be
19. Don’t walls alone ar nighr. Don'r allow your landlyto do so.

20. Don’tlridea ldtyunderthe door\r\atorancarby flowcrpor.'l'horcanr
the first planned burglar will irer

21. Dort'\ give entry lreya. codes or electronic gale card roanyorie.

22. Uaalarnptia\erswher\youpourinrlicavmlr\gorgoamyon
vacnriur.neycanbepurehaaed atmosthardwaresnrras.

23. Lei diomanagerand your lrlendslmow Lfyou'llbagonoforan
extendedtime.Alkyourneighlrorslowarchyouraparnnanrrinor
lltc enlcannctammerha¢mpmihiliry.

24. While on vacation arm ly atop your nempoper ana nam
delivery,orhaveymr andnewspaper ` updairybyarrimd.

25. Carryyoar door keyln yoarhand. wire ir isdayliyirordark.
wl\enwalldngtoyourenrrydoor.¥ouare marevulnerablawhen
linking llor your lteys ar lltedoor.

FERS°NAL SECURI'l'Y-WHlLE U$l.\'C \'UUI. CAR

26. Lor.lryoareardoorswhiledriving.laclryourcardoorundroiiup
the windows when leaving yourmrparlied.

I'l. Don'tlovoexpoaedirerruinpurr:rr.lttchaamdcorpq,wnppcd

bricfotses.or puraea.

1 eavo yourkeys in diecor.
Carryyourkeyringhyourhandwhenereryouarowa!ki.ngtoyour
olr\-\vitarhor ir is daylight or dark and whether you ore at hmna.
school, wml¢. or on vacation-

Alwaya ina wali-li¢ttcdama.l.l'posible. o'yroparlr yourcar

inan rparmaratherthanoniherrreer.

Beorrerul whunstoppingargaasuoortsorautmnadc-tellcrnnrhines

at n?gi\t-or anytime when you suspect dangcr.

FBRSONM. SECl.llll'l"i' AWARENISS

Nor¢cun‘ryryrlrmiafailsrfr. Eornilarlrnr¢yrr¢mmn'rprrmrrrrine.dlraayr

uriar§l ' rymaodan'ra.rirrn‘mrhrymsubjwiramalfurarirn.

` grand interror. Mdiadaiarmryelpesaortcrph'odtaananlr'rauj
mriry. borm#lymmrrsmerhrrurayouprfnmaaamnirrrof-r_
mardlarbr'l.

235

8

i=iT-‘-'

 

li When Moving Our 1

ai. MD‘\|'E-OU‘I’ N011CE. Bofore moving oul, you_nrusl ivo our

lopr¢smrarlveadvancewrircen movo-ourrto¢iceasprovlded .Your
move-ournodcawilinorrriaseyouiromliabiliry lar the lullremoflltr
uaseContracror renewalrerm.¥ou vrlllsiillbeiialilalorihomtirahease

Ccntracrrerrrtil mouaouturl ( ahzlle unde the
military clause l:piruagr&h ni. Y&J£ah'llong-GUT l E Mrl.iST
(IlMFLYWT|'H Cl'l 1HEFOU.0WING:

~ We nua\ receich written national yourntovo-our dare.11re
advartcemticemustireatlmthanumiierofdayadnoticerqulred
in paragraph 3. Oral move-our notion will nor ira accepted and will
nor terminate your lam Conrrorr.

l ‘{ourltave-ournoricemusrnorl.'emtinatodto LoaseConirar:tsooner
timndrenu'lof\hel.easa¢ono'mterrnorranowalportod.

\'CU'RN‘UI'ICEIS Wl‘ACCE’|`ABLEIF lTWENUTCOMPLYWl'l'l-l
ALLOFTHEABOVE .Pleaso unour written move-our form \'ou must
obea_in lrornour represcnrative writtenacltnowled lhar wereoaived
yourrnovo-our noiice. liwerarrrilrtaratlto llano rracr. we must give
you the more advance rtorico-unless you arc in de£aulr.

. MOVE-OUT FR°CEDURES. 1119 move-our dare cnn'\ be changed
unlessweandyoubothagrecinw .Youwon'rmoveoarbelorerhe
icasetcrmorrenewaiperladendsunlcssail ren\forrhoenaraleaaalcrm
orrumwalperlod la ldlnfull. hrlymokul mayresuirln reloning
du ¥inr're ted by law from applying any eeeuriry deposit to
rent. ou\von'rsorybeyondthadateyouorosu tomovcoul.All
residents gucsrs. and compania must vacate apartment belore the

‘ :s. cr.enNrNc. m `mur¢ ar

lat'.:i.rm iral.l.om
02017. Narional Aparrn\ent nsarciailon. Inc. - 3/2017. North Carolina

D'dar ' fordepoairrerundb ¥oumusap`vcusandlltel.l$.
Posra ' lnwriring,eashresld'ir|n,:lorwardingaddresa.

y clean the aparmte.tr, including
doors. windowa. l\rrniture. bar romns. irrade appliancea, patics,
bakol\lt!.girlsea.cal'ports.and atora:mromns. \'ou mustfollowtnove-
ourcleaninglnairucdonsiidt~eyhave provided.llyoudon‘idean
adequately. you'll be liable for reasonable denning charg=.

39. MUVB-OWINSFECUGN. ¥oualtould rneerwirlr ourreprsmhllve

fora nmu-ourlrtspet:thn.°m rscno\rioehaanoatititoriry tobindor
limit us regarding deduction;zr repairs damach or charges- rtny
statements or eatimama by us or our representative aro subject room
corroetlon. modification ar disapproval before |inal refunding or
continuingl

ill SEGJRIT¥ DEPDSIT DEDUC|'|ONS AND °THER CHARGI. Wo

dodurrsumalmrnyourrccurityd irlor relaxede
!ol ovdng:yourposalblcnon#paymmr renl.coara warerandaewer
serviocsprovided. damage to tl\a premised dama¢eardesrmcrlonol
smoke detectors or mrlron monoxide detectors. nonfirifillmenr al lhr.-
rental perlod, any unpaid bills thor bmomo a lion opinsl tha demised

duetoyouroccupancy.ccsuofre-rmringdiapramisesaitor
§rench y you. including but nor limited to any mmnalria lees or
cornmisaiompaidbyrha landlord roa licensed rulestatebrolterl.ore-rent
thnpromiaes.cos\aofremovaland arorageofyrrurproperryai'tera

onnrrl;_riyeit!lmcnigroocedin& oourtcosl!. manyfeeaurhor|md byN.C.
. AT.
am §°" aunonnsrastmzasrsse

warsaw

Case 1:18-CV-00501-LCB-LPA Document 1-1 Filed 06/13/18 Paoe 38 of 45

dl. 'DEI'OS|'|' RE'|'UIIN, SURRENDER, AND MANDONMENT ll we

fan determine rim iuii extent oi our deductions imm your seeurir¥
grain wa'll mail you your security depmir relurid ¢l- lawful

uctior\s) and an itemized amounting oiany deductions no later than
Mdnysaher remirmiondyouro:mneyunrier\tlil Leasecomml:tand
delivery_oi you.. unl_ monies provide otherwise ii we
cannot determine tire full extent of our deductions from your security
deposit within the aforementioned 30 day period we'il mail you an
luleri.m flemile monti dow deductions from the dme admin
Sodayuiierterminetian your tenancy underr.hblaase lractand
deliveqolposeessionbyyou.nndwa'linlmmailyourseeurity t
refr.mrl lisa lawlul deductions) and a fimi itemized mounting anyl
deductions noiatertimn Mdaysn!ter tem\inltiona!yourtenancym\dar
ihb lease Contnrrtand deliveryde you.

¥ou have surrendered the apemnenr when: |i| tila nme-mrt dam has

Yau have abandoned tha apartment when all cl tile following have
manner |t| ave appears m have moved our in our reammbie
iudgmenr: ill dot iumirure. and belongings lmra been
substantde removed in our reasoned [udglllel\\; m you'lm been |n
deiauit for ne ymenr ot rent for 5 eonsaeuova days or wamr. gu. ar
demieaervire arthelpartmmtnereonne¢tedinaurnamehasbeen
rerrrrinared; and (4) you‘ve nut luponded Ior?. days mont notice left on
rhehrsiaeoiureuminomydoar.mrinsnmtwuonddnthwplmm
abandond. nn apartment also 'abandened' iii days aider ille death d
a sole reddem.

Surrerrd.er. abandonan and judielal eviction and ar tighl el
ponenion iorlll pu;posuand §veeusthe immediate tension up.
make irl in,, an lelet the oparttnenl, and determine any security
deparlri'rre-dumm.a. Surrenrier. abandarunent. andiuriielai evictianafiet

left ln the apartment (pmgmpi\ lli, but donor

rights m
passed\ndnooneisii\dnglntheapammntinour reasonabia|u nt; ::i“reeiaur mitigation ligatians (paragmph 31).
orman keyeandeeeessdevieealistedin h have

been turned ln where rent is paid-whichever date eoeur: nt.
l ' Signniures, Originais and Mtachments t

 

 

 

 

¢2. URiGlNM.-S AND AT\‘ACI»|MEN'|'S. 'i'i\'n lease Cantrn¢[t has been
lreeutedinmuitfpieorigina|s.witi\erighaleignanus-nne aryouar\ri mma - hamm _
one or more for u:. Our rules end community pdl¢iu. il nny, will be home Pm"¢““ybg:::; dm_ l
mnhedtotheLmse Canoaetandgivento otsigning.WhL-nan

 

 

 

 

inventrry and Col\dition form il completed you end we should
retaina¢apy.mi|emldmckedbeiowanmad\edmthvmseconmt
andarehindin,geveniinol inith or signed.

§§ or Ezdenta fail z Ham]

 

 

Eneiased Gerage Addendum
Comm\mi\~y l'diir.'ies Addendum
larcenle Guamnty |
Noiim el lnmrt remove Out Form

parking Permit lt Stit:\m lquantily: _)

Slte]lill Dis‘h or Amenna Mdmdum

Asbem Addendmn iii asbntos is present)

L¢ll¢l Hn!illd ll'ibtmntilm end Di.k|os\rl'e Mdendum llederal)

 

guarantiee,i|'morethanenoi

 

Cwner or Olenefa llepruentnli\‘e far‘gning mbthii]afomaer)

 

Mrlreaa and phone number nimmer representative for aarin purposes
580|} Tatm:sa_i.i. native

 

 

 

 

UDDC|BUUEC|BDBUB

Utility Addendum

Remote€onml€ardo:-Codeaeeescotenddendum Ml_lm 27113

lnitus§nn A.larrn Mdend\rrn

Cihll'

oill¢l’ Nlmeurd l.llthe£llo-fltorlervkl fifappfimbh|

 

 

 

 

Dateformls£iladmtlmaraniapaqu¢|| 04/21/2017

SFECIAL PHO‘\|'IS lONS (CUNI'| N\.lHD FI\°M I'AGE ll

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

0421201111540€m112051652

messrs §

Southpoint Glen
kuhn lla.l.:l.m

0201?, Nalienni Aparrmenr Aesar:iarion. !ne. North CaroiinalNarional Aparunenr Assoeiaiiun O[iicial Form. Mord\ 2017

Case 1:18-CV-00501-LCB-LPA Document 1-1 Filed 06/13/18 Paoe 39 of 45

Coumr CosTs ANo Fees CHART
The chart below shows court costs in effect as of luly 15, 20161, and applies to all costs assessed or
collected on or after that date, except where otherwise noted.

 

ClVlL COURT COSTS
G.S. 7A-305. unless otherwise specified

Civil li|ing fees are assessed for all complaints B for any subsequent pleading containing a

 

 

 

 

 

 

 

 

 

counterclaim crossclaim, or third-party complaintl Amount

MAGis'rnA'rt-:s' Coun'r. G.S. 7A-305. (except cases under Chapter 508 or SDC“’)
Genera| Court of Justice Fee. General Fund 77.55
G.S. 7A-305(a)(2).

State Bar Legal Aid Account (LAA) 2.45 80.00

Faci|ities Fee. G.S. 7A-30§(a)(1). 4 12.00
Te|ecommunicalions and Data Connectivity Fee. G.S. 7A-305(a)(1a]. 4.00
MAGISTRATE TorAL 96.00
Plus $30.00 service fee for each item of civil process served by the sheriff. +30 00

G.S. 7A-311(a)(1).
Dis'micr Coun'r. G.S. 7A-305. (except cases under Chapter 508 or SOC‘°)

 

 

 

 

 

 

 

 

Genera| Court of Justice Fee. Genera| Fund 127.55

G.S. 7A-305(a)(2). State Bar Lega| Aid Account (LAAl 2.45 130.00

Facilities Fee. G.S. 7A-305(a)(1). 16.00

Telecommunications and Data Connectivity Fee. G.S. 7A-305(a)(‘la). 4.00

DlsTnicT Coun'r ToTAL 150.00
.Plus 530.00 service fee for ea ch item of civil process served by the sherilf. +30 00

G.s. 7A-311(a)(1)_

 

SgPERlon Coun'r. G.S. 7A-305.

 

 

 

 

 

 

 

 

General Court of Justice Fee. Genera| Fund 177.55
_G.S. 7A-305(a)[2). _ _ State Bar Lega| Aid Account (LAA) 2.45 180.00
facilities Fee. G.S. 7A-30§(a)(1). 16.00
Telecommunications and Data Connectivity Fee. G.S. 7A-305(a)[1a). 4.00
Su PEmon CouRT Toml. 200.00
Business Court Fee. upon assignment G.S. 7A-305(a)(2). [S.L 2014-10_2,L§ 41 +1.100.00
Plus 530.00 service fee for each item of civil process served by the sheriff. +30 00

 

 

 

G.S. 7A-311(a)(1).

 

 

§ Elll'|lBl'l'
NOM,H CARDL| NA coon cases and Fees Fees c_han_civil | .iuiy 2u1s §§ge 1
AanleTRATlvE OFFlcE
_./¢A,- COU|\TS

Case 1:18-CV-00501-LCB-LPA Document 1-1 Filed 06/13/18 Pacie 40 of 45

 

 

 

 

 

 

 

 

 

oTHER_clviL FEEs AMouNf-”
Service fee for each item of civil process served by the sheriff G.S. ?A-311(a)(1). 30.00
Alias & P|uries summons or endorsementh original summons. 15 00
G.S. ?iA-:BOB(a)(Zi).3 _ '
Filqu for absolute divorce G. S. 7A-305(a2). 75.00
MotioniNolice of Hearing fee. G. S. 7A-305(f). 4 20.00
Resumplion of fortner name (within or subsequent to absolute divorce). G. S. 50-12(e). 10.00

 

 

.G.S 7

Petition for allowance. G.S. 7
a G. .
execution cr of G.S. 7 4
not incident to a civil or criminal action. G. . 7

 

 

' The General Assembly ended the 2016 short session with little to no changes to court costs and fees. Full text of the 2016 budget

bill. SL 2016-94, is available online ath ttg: [[www. ncleg. netlSessions[ZO15[Bi||s[House[PDF[H1030v1. gdf. Fuil text of the primary

legislation affecting court costs for 2015, SL 2015- 241, is available onllne at

htt: uwvw. nc|e .net Sessions 2 15 Bi ls i-|ouse PDF H97v9. df.

' No costs may be assessed for the filing issuance, registration or service of a protective order or a petition for a protective order or

witness subpoena under Chapter 503 {Domestic Violence) or 50C (civi| no-contact|. However:

' Civil District court costs are assessed for a petition for a workplace civil no-contact order filed under Article 23 of Chapter 95;
and

- District Court costs must be assessed for amendments and counterclaims to actions filed under Chapter 508, unless the
subsequent claim also arises under that chapter. E.g., if an amended complaint or counterclaim is filed in an existing 508 actionl
and the new filing makes a claim for divorce, the party filing the amendment or counterclaim is assessed civil filing fees
[lnc|uding the fee for divorce, if applicable).

3 Although codified in G.S. 7A-308 imiscellaneous feesl, the fee for alias and pluries summons and endorsements is limited to "civil

matters" onlyl so it does not apply to summons in special proceedings or estates. As amended effective .luly 1. 2013, the fee does

not apply to any alias & pluries summons or endorsement in an action commenced or prosecuted by a lV-D child support agency.

(The fee previously did not apply to actions filed under Chapter 110, Articie 9, but that exemption was repealed effective .luly 1,

2013.| Further, the fee does not apply to a summons or endorsement in domestic violence proceedings under G.S. Chapter 508. G.S.

503-2la|.

‘ The motion/notice of hearing fee does not apply to any motion listed in G.S. 7A-308; for a list, see "Appendix - Nlotion/Notice of

l~iearing Fee Exemptions" at the end of this cost chart. The fee also does not apply to any motion "containing as a sole claim for relief

the taxing of costs, including attorneys' fees." to a motion filed pursuant to G.5. iii-1602 or 1C-1603 (to designate exemptions from

enforcement of a judgment), or to a motion filed by a child support agency established pursuant to Part D of Titie iv of the Social

Security Act la "lV-D" agency). No more than one fee shall be assessed for any motion for which a notice of hearing is filedl

regardless of whether the hearing is continued, rescheduled, or othenvise delayed.

 

ADM|NISTRATIVE OF FlCE

Nom'i-l Crieoi.mi\ court costs and Fees chari_EW| Juiy 2016 EEge 2
_.,/u.- Courth

Case 1:18-CV-00501-LCB-LPA Document 1-1 Filed 06/13/18 Pacie 41 of 45

Appendix - MotioniNotice of Hearing Fee Exemptions
Updated Effective August 1l 2013

Notlce of Hearing on Motion for Costs or Attomey Fees. G.S. 7A-305(f), 7N306(g). and 7A-307(a)(4).

Each of the statutory provisions for the motionfnotice of hearing fee provides that the fee is not to be
assessed for "a notice of hearing on a motion containing as a sole claim for relief the taxing of costs,
including attomeys‘ tees.'l Therefore if the g_rl|y request for relief in the motion is for costs andlor attorney
fees. the fee does not apply when the notice of hearing is tiled.

Notices of Hearin¢ on Motions under G.S. 7A-308.

Current|y, there are only three motions for which fees are assessed under G.S. 7A-308, and which
therefore are exempt from the motionlnotice of hearing fee of G.S. 7A-305(f}, 7A-306(g). and 7A-
307(a)(4). For each of these three motionsl the clerk should assess the fee specified in G.S. 7A-308 upon
the filing of the motion, n_ot for the filing of a notice of hearing on the motions.

- (a)(2) Proceedings supplemental to execution [initiated by motion in the cause].

- (a)(14) Substitution of trustee on a deed of tnist {in a judicial foreclosure].

- (a)(20) Motion to assert a right of access under G.S. 1-72.1 [to a judicial proceeding or record].
Civil Actions - Additional Fee-Exempt Motions. G.S. 7A-305(f}.

Child Sug@rt Proceedings -- Exemptions for lV-D Agencies

Pursuant to S.L. 2013-225. § 4.(a}. the fee for notices of hearing on motions in civil actions does r_1_th apply
to motions filed by a child support enforcement agency established pursuant to Part D of Titie |V of the
Social Security Act.

This means that the motionlnotice of hearing fee shall not be charged to a |V-D agency when the lV-D
agency is the fi|er of the motion.

Domestic Violence Proceedings

Because any motion filed in a proceeding under Chapter 508 of the General Statutes (e.g.. for contempt
for violation of the order) may be necessary to the enforcement of such orderl and because court costs
may not be assessed for actions associated with a protective orderl pursuant to G.S. SOB-Z(a), the fee
should n_ot be assessed for notices of hearing on motions for the enforcement or modification of orders
under Chapter SOB.

Special Proceedings - Additional Fee-Exempt Motions. G.S. ?A-306(f).

Pursuant to G.S. 7A-306(f). the costs in that statute do not apply to foreclosures under power of sale in a
deed of trust or mortgagel so the motion fee is not to be assessed in those proceedings

Estates - No Additional Exemptions. G.S. 7A-307(a)(4).

Other than motions for costs and attorney fees and motions under G.S. 7A-308, listed above, there are no
exemptions from the motion/notice of hearing fee in estate cases.

 

ADM|N|STRAT|VE OFFlCE

NoR-l-H CAROL|NA Court Costs and Fees Fees Chart__Civi| | .luiy 2016 Page 3
.r tdc cou RTS

Case 1:18-CV-OO5Ol-LCB-LPA Document 1-1 Filed 06/13/18 Pacie 42 of 45

Counr CosTs Alvo FcEs CHAnr
The chart below shows court costs in effect as of August 1, 20171 and applies to all costs assessed or
collected on or after that date, except where otherwise noted.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

CIVlL COURT COSTS
G.S. 7A-305, unless otherwise specined
Civil filing fees are assessed for ali complaints _a_ri_q for any subsequent pleading containing a
counterclaiml crossclaim. or third-party complaint Amount
Mnolsmnres' Counr. G.S. 7A-305. (except cases under Chapter 508 or SOQ)
General Court of Justice Fee. General Fund 79.05
G.S. 7A-305(a)(2). h j_
State Bar Lega| Aid Account (LAA) 0.95“ 80_00
Facilities Fee. G.S. 7A-305(a)(1). 12.00
F'_l'elecommunications and Data Connectivity Fee. G.S. 7A-305La)(‘iai. 4.00
liilAGlsTnA'rE ToTAL 96.00
Plus 830.00 service fee for each item of civil process served by the sheriff.
G.S. 7A-311(ai(1). +30.00
Dls'mlc'r Coan'. G.S. 7A-305. (except cases under Chapter 503 or SOC'€)
General Court of Justice Fee. General Fund 129.05
G.S. 7A-305(a)(2}. _
State Bar Legal Aid Account (LAA) 0.95 130_00
Facilities Fee. G.S. 7A-305(ail1). 16.00
Te|ecommunicati_ons and Data Connectivity Fee. G.S. 7A-305(a](1a). 4.00
Dls'mlc'r CounT ToTAL 150.00
Plus 530.00 service fee for each item of civil process served by the sheriff. +30 00
G.S. 7A-31 1(a)(1i. f __ '
SuFEnlon Count. G.S. 7A-305.
General Co urt of Justice Fee. General Fund 179_05
G.S. 7A-305(a)(2). State Bar Lega| Aid Account (LAA) 0.95 180.00
Facilities Fee. G.S. 7A-305(a)i1). 16.00
Te|ecommunications and Data Connectivity Fee. G.S. 7A-305(a)(1a). 4.00
SuPEnlon Coun’r To'rAL 200.00
Business Court Fee, upon assAiqnment. G.S. 7A-305(a)(2L18.L 2014-102. § 4] +1,100.00
Plus $30.00 service fee for each item of civil process served by the sheriff. +30 00
G.S. 7A-311(a)(1). '
§ EXHIB|T
NoR-r,., emman annuities and Fees Fees chart_civil | Augusc 2011r Page 1
ADMlleTRATivE OFFICE
_¢//4.- COult"rs

Case 1:18-CV'-OO5Ol-LCB-LPA Document 1-1 Filed 06/13/18 Pacie 43 of 45

 

 

 

 

 

 

 

 

 

OTHER ClVlL FEES AMOUNT

Service fee for each item of civil process served by the sheriff. G.S. 7A-311(a)(1). 30.00
Alias & Piuries summons or endorsement on original summons. 15 00
G.S. 7A-308(a)(21).‘ '

Filing for absolute divorce. G. S. 7A-305(a2). 75.00
MotionINotice of Hearing fee G. S. 7101-305(f).5 20.00
Resumption of fenner name (within or subsequent to absolute divorce). G. S. 50-12(e). 10.00
Disccvery fee for depositions taken before action or pending appea|° 20.00

 

 

 

 

 

 

 

 

 

MAG|STRATES SFEC|AL FEES
(G.S. 7A-309.)
Perfonning marriage ceremony. G.S. 7A-309(1). 20.00
Pelition for years allowance. G.S. 7A-309(2). 8.00
Taking a deposition G.S. 7A-309(3). 10.00
Proof of execution or acknowledgment of instrument G.S. 7A-309(4). 2.00
Performing any statutory function, not incident to a civil or criminal action. G.S. 7A-
309(5). 2.00

 

 

 

 

1The General Assembiy ended the 2017 long session with minimal changes to civil court costs and fees. Full text of the 2017 budget
bi||, SL 2017-57, is available onllne at hu :ff\\w\v nc c .nell nnciedl c islarionlScssion nw siP ' , ,
other primary legislation affecting civil costs is HB 528, which became law at 12 0:1 a. rn. on luly 31, 2017. but does not have a session
law number assigned to lt yet. Ful| text of HB 528 is available at httg: Mwww. ncleg. net[§g§§ions[go17[Bii|s[l-iogse[PDF(HSZBvS. pitt
zNo costs may be assessed for the filing. issuance, registration or service of a protective order or a petition for a protective order or
witness subpoena under Chapter 50B lDomestic Violence) or 506 lcivi| no-contactl. However:
- Civil District court costs are assessed for_ a petition for a workplacg civil no-contact order filed under Articie 23 of Chapter 95;
and
¢ District Court costs must b`e assessed for amendments and counterclaims to actions filed under Cha pter 500, unless the
subsequent claim also arises under that chapter. E.g., if an amended complaint or counterclaim is filed in an existing 50B action,
and the new filing makes a claim for divorce, the party filing the amendment or counterclaim is assessed civil filing fees
lincluding the fee for divorce, ifapp|icabie).
3C|erks will still collect a total GCF costlsi listed above. Howeverl $1.50 of the GC! costs will no longer be allocated to the N.C. State
Bar for legal services provided under the former Access to Civil justice Act. The $0.95 LAA fee will continued to be allocated to the
N.C. State Bar for support of legal services under the Domestic Violence Victim Assistance Act, G.S. Chapter 7A, Articie 37B. The LAA
allocation change was made in S.L. 2017-57 and HB 528. The civil bill of costs {AOC-CV-BBZ] will be updated to reflect this change.
‘Although codified in G.S. 7A-308 imiscellaneous fees], the fee for alias and pluries summons and endorsements is limited to "civil
matters” onlyl so it does not apply to summons in special proceedings or estates. As amended effective luly 1. 2013, the fee does
not apply to any alias & pluries summons or endorsement in an action commenced or prosecuted by a lV-D child support agency.
¢The fee previously did not apply to actions filed under Chapter 110l Articie 9, but that exemption was repealed effective iu|y 1,
2013.) i-'urtherl the fee does not apply to a summons or endorsement in domestic violence proceedings under G.S. Chapter 50B. G.S.
soa-z{a).
5 The motion/notice of hearing fee does not apply to any motion listed in G.S. 7A-308; for a list, see "Appendix - Motion/Notice of
Hearing Fee Exemptions" at the end of this cost chart. The fee also does not apply to any motion "containing as a sole claim for relief
the taxing of costs, including attorneys' fees,“ to a motion filed pursuant to G.S. 1C-1602 or 1C-1503 lto designate exemptions from
enforcement of a judgment)l or to a motion filed by a child support agency established pursuant to Part 0 of Titie lv of the Social
Security Act la “lV-D“ agency). No more than one fee shall be assessed for any motion for which a notice of hearing is filed,
regardless of whether the hearing is continued, rescheduled, or otherwise delayed.

 

 

NORTH CAp.o|_rN,\ Court Costs and l_=ees Chart_Civi| | August 2017 Page 2
AnMiNisTitnTivE Orrlct
_,frd¢- COUI\TS

Case 1:18-CV-OO501-LCB-LPA Document 1-1 Filed 06/13/18 Pacie 44 of 45

Appendlx - Motion/Notice of Hearing Fee Exemptions
Updated Effective August 1l 2013

Notice of Hearing on liiiotion for Costs or Attorney Fees. G.S. 7A-305(f). 7A-306(g), and 7A-307(a)(4).

Each of the statutory provisions for the motionlnotice of hearing fee provides that the fee is not to be
assessed for l‘a notice of hearing on a motion containing as a sole claim for relief the taxing of costsl
including attomeys‘ fees.' Therefore if the gt_!y request for relief in the motion is for costs and/or attorney
fees. the fee does not apply when the notice of hearing is liied.

Notices of Hearing on Motions under G.S. 7A-308.

Currentlyl there are only three motions for which fees are assessed under G.S. 7A-308. and which
therefore are exempt from the motionlnotice of hearing fee of G.S. 7A-305(f). 7A-306(g), and 7A-
307(a)(4). For each of these three motionsl the clerk should assess the fee specified in G.S. 7A-308 upon
the filing of the motion, gg_t for the filing of a notice of hearing on the motions.

- (aj(2) Proceedings supplemental to execution [initiated by motion in the cause].

- (a)(14) Substitution of trustee on a deed of trust [in a judicial foreclosure].

- (a)(20) Motion to assert a right of access under G.S. 1-72.1 [to a judicial proceeding or record].
Civil Actions - Addltlonal Fee-Exempt Motions. G.S. 7A-305(f).

Child Suggort Proceedings - Exemgtions for lV-D Agencies

Pursuant to S.L. 2013-225l § 4.(a), the fee for notices of hearing on motions in civil actions does Lot apply
to motions filed by a child support enforcement agency established pursuant to Part D of Titie lV of the
Social Security Act.

This means that the motionfnotice of hearing fee shall not be charged to a lV-D agency when the iV-D
agency is the li|er of the motion.

ngestic Wolence Proceedings

Because any motion filed in a proceeding under Chapter 50B of the General Statutes (e.g.. for contempt
for violation of the order1 may be necessary to the enforcement of such order. and because court costs
may not be assessed for actions associated with a protective order. pursuant to G.S. 508-2(a), the fee
should n_ol be assessed for notices of hearing on motions for the enforcement or modification of orders
under Chapter 508.

Speclal Proceedings - Addltional Fee-Exempt Motions G.S. 7A-306(f).

Pursuant to G.S. 711\-30fi(f)l the costs in that statute do not apply to foreclosures under power of sale in a
deed of trust or mortgage, so the motion fee is not to be assessed in those proceedings

Estates - No Additional Exemptions. G.S. 7A-307(a)(4).

Other than motions for costs and attorney fees and motions under G.S. 7A-308. listed above, there are no
exemptions from the motionfnotice of hearing fee in estate cases.

 

ADMIN|STRAT|VE OF FlCE

NORTH CA Ro\_mj\ Court Costs and Fees Fees Chart_Civi| | August 2017 Page 3
yes Cou uTs

Case 1:18-CV-OO501-LCB-LPA Document 1-1 Filed 06/13/18 Pacie 45 of 45

